Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 1 of 443




                               0318
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 2 of 443




                               0319
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 3 of 443




                               0320
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 4 of 443




                               0321
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 5 of 443




                               0322
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 6 of 443




                               0323
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 7 of 443




                               0324
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 8 of 443




                               0325
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 9 of 443




                               0326
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 10 of 443




                                0327
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 11 of 443




                                0328
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 12 of 443




                                0329
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 13 of 443




                                0330
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 14 of 443




                                0331
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 15 of 443




                                0332
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 16 of 443




                                0333
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 17 of 443




                                0334
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 18 of 443




                                0335
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 19 of 443




                                0336
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 20 of 443




                                0337
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 21 of 443




                                0338
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 22 of 443




                                0339
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 23 of 443




                                0340
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 24 of 443




                                0341
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 25 of 443




                                0342
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 26 of 443




                                0343
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 27 of 443




                                0344
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 28 of 443




                                0345
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 29 of 443




                                0346
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 30 of 443




                                0347
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 31 of 443




                                0348
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 32 of 443




                                0349
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 33 of 443




                                0350
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 34 of 443




                                0351
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 35 of 443




                                0352
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 36 of 443




                                0353
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 37 of 443




                                0354
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 38 of 443




                                0355
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 39 of 443




                                0356
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 40 of 443




                                0357
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 41 of 443




                                0358
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 42 of 443




                                0359
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 43 of 443




                                0360
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 44 of 443




                                0361
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 45 of 443




                                0362
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 46 of 443




                                0363
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 47 of 443




                                0364
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 48 of 443




                                0365
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 49 of 443




                                0366
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 50 of 443




                                0367
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 51 of 443




                                0368
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 52 of 443




                                0369
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 53 of 443




                                0370
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 54 of 443




                                0371
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 55 of 443




                                0372
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 56 of 443




                                0373
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 57 of 443




                                0374
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 58 of 443




                                0375
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 59 of 443




                                0376
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 60 of 443




                                0377
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 61 of 443




                                0378
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 62 of 443




                                0379
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 63 of 443




                                0380
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 64 of 443




                                0381
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 65 of 443




                                0382
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 66 of 443




                                0383
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 67 of 443




                                0384
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 68 of 443




                                0385
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 69 of 443




                                0386
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 70 of 443




                                0387
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 71 of 443




                                0388
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 72 of 443




                                0389
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 73 of 443




                                0390
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 74 of 443




                                0391
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 75 of 443




                                0392
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 76 of 443




                                0393
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 77 of 443




                                0394
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 78 of 443




                                0395
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 79 of 443




                                0396
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 80 of 443




                                0397
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 81 of 443




                                0398
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 82 of 443




                                0399
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 83 of 443




                                0400
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 84 of 443




                                0401
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 85 of 443




                                0402
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 86 of 443




                                0403
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 87 of 443




                                0404
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 88 of 443




                                0405
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 89 of 443




                                0406
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 90 of 443




                                0407
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 91 of 443




                                0408
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 92 of 443




                                0409
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 93 of 443




                                0410
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 94 of 443




                                0411
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 95 of 443




                                0412
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 96 of 443




                                0413
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 97 of 443




                                0414
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 98 of 443




                                0415
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 99 of 443




                                0416
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 100 of 443




                                0417
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 101 of 443




                                0418
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 102 of 443




                                0419
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 103 of 443




                                0420
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 104 of 443




                                0421
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 105 of 443




                                0422
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 106 of 443




                                0423
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 107 of 443




                                0424
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 108 of 443




                                0425
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 109 of 443




                                0426
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 110 of 443




                                0427
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 111 of 443




                                0428
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 112 of 443




                                0429
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 113 of 443




                                0430
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 114 of 443




                                0431
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 115 of 443




                                0432
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 116 of 443




                                0433
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 117 of 443




                                0434
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 118 of 443




                                0435
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 119 of 443




                                0436
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 120 of 443




                                0437
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 121 of 443




                                0438
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 122 of 443




                                0439
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 123 of 443




                                0440
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 124 of 443




                                0441
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 125 of 443




                                0442
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 126 of 443




                                0443
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 127 of 443




                                0444
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 128 of 443




                                0445
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 129 of 443




                                0446
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 130 of 443




                                0447
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 131 of 443




                                0448
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 132 of 443




                                0449
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 133 of 443




                                0450
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 134 of 443




                                0451
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 135 of 443




                                0452
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 136 of 443




                                0453
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 137 of 443




                                0454
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 138 of 443




                                0455
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 139 of 443




                                0456
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 140 of 443




                                0457
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 141 of 443




                                0458
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 142 of 443




                                0459
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 143 of 443




                                0460
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 144 of 443




                                0461
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 145 of 443




                                0462
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 146 of 443




                                0463
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 147 of 443




                                0464
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 148 of 443




                                0465
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 149 of 443




                                0466
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 150 of 443




                                0467
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 151 of 443




                                0468
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 152 of 443




                                0469
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 153 of 443




                                0470
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 154 of 443




                                0471
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 155 of 443




                                0472
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 156 of 443




                                0473
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 157 of 443




                                0474
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 158 of 443




                                0475
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 159 of 443




                                0476
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 160 of 443




                                0477
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 161 of 443




                                0478
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 162 of 443




                                0479
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 163 of 443




                                0480
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 164 of 443




                                0481
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 165 of 443




                                0482
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 166 of 443




                                0483
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 167 of 443




                                0484
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 168 of 443




                                0485
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 169 of 443




                                0486
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 170 of 443




                                0487
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 171 of 443




                                0488
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 172 of 443




                                0489
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 173 of 443




                                0490
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 174 of 443




                                0491
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 175 of 443




                                0492
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 176 of 443




                                0493
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 177 of 443




                                0494
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 178 of 443




                                0495
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 179 of 443




                                0496
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 180 of 443




                                0497
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 181 of 443




                                0498
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 182 of 443




                                0499
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 183 of 443




                                0500
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 184 of 443




                                0501
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 185 of 443




                                0502
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 186 of 443




                                0503
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 187 of 443




                                0504
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 188 of 443




                                0505
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 189 of 443




                                0506
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 190 of 443




                                0507
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 191 of 443




                                0508
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 192 of 443




                                0509
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 193 of 443




                                0510
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 194 of 443




                                0511
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 195 of 443




                                0512
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 196 of 443




                                0513
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 197 of 443




                                0514
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 198 of 443




                                0515
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 199 of 443




                                0516
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 200 of 443




                                0517
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 201 of 443




                                0518
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 202 of 443




                                0519
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 203 of 443




                                0520
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 204 of 443




                                0521
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 205 of 443




                                0522
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 206 of 443




                                0523
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 207 of 443




                                0524
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 208 of 443




                                0525
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 209 of 443




                                0526
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 210 of 443




                                0527
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 211 of 443




                                0528
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 212 of 443




                                0529
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 213 of 443




                                0530
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 214 of 443




                                0531
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 215 of 443




                                0532
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 216 of 443




                                0533
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 217 of 443




                                0534
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 218 of 443




                                0535
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 219 of 443




                                0536
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 220 of 443




                                0537
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 221 of 443




                                0538
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 222 of 443




                                0539
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 223 of 443




                                0540
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 224 of 443




                                0541
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 225 of 443




                                0542
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 226 of 443




                                0543
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 227 of 443




                                0544
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 228 of 443




                                0545
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 229 of 443




                                0546
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 230 of 443




                                0547
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 231 of 443




                                0548
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 232 of 443




                                0549
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 233 of 443




                                0550
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 234 of 443




                                0551
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 235 of 443




                                0552
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 236 of 443




                                0553
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 237 of 443




                                0554
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 238 of 443




                                0555
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 239 of 443




                                0556
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 240 of 443




                                0557
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 241 of 443




                                0558
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 242 of 443




                                0559
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 243 of 443




                                0560
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 244 of 443




                                0561
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 245 of 443




                                0562
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 246 of 443




                                0563
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 247 of 443




                                0564
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 248 of 443




                                0565
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 249 of 443




                                0566
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 250 of 443




                                0567
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 251 of 443




                                0568
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 252 of 443




                                0569
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 253 of 443




                                0570
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 254 of 443




                                0571
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 255 of 443




                                0572
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 256 of 443




                                0573
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 257 of 443




                                0574
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 258 of 443




                                0575
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 259 of 443




                                0576
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 260 of 443




                                0577
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 261 of 443




                                0578
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 262 of 443




                                0579
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 263 of 443




                                0580
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 264 of 443




                                0581
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 265 of 443




                                0582
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 266 of 443




                                0583
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 267 of 443




                                0584
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 268 of 443




                                0585
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 269 of 443




                                0586
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 270 of 443




                                0587
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 271 of 443




                                0588
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 272 of 443




                                0589
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 273 of 443




                                0590
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 274 of 443




                                0591
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 275 of 443




                                0592
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 276 of 443




                                0593
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 277 of 443




                                0594
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 278 of 443




                                0595
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 279 of 443




                                0596
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 280 of 443




                                0597
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 281 of 443




                                0598
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 282 of 443




                                0599
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 283 of 443




                                0600
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 284 of 443




                                0601
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 285 of 443




                                0602
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 286 of 443




                                0603
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 287 of 443




                                0604
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 288 of 443




                                0605
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 289 of 443




                                0606
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 290 of 443




                                0607
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 291 of 443




                                0608
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 292 of 443




                                0609
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 293 of 443




                                0610
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 294 of 443




                                0611
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 295 of 443




                                0612
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 296 of 443




                                0613
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 297 of 443




                                0614
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 298 of 443




                                0615
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 299 of 443




                                0616
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 300 of 443




                                0617
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 301 of 443




                                0618
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 302 of 443




                                0619
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 303 of 443




                                0620
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 304 of 443




                                0621
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 305 of 443




                                0622
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 306 of 443




                                0623
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 307 of 443




                                0624
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 308 of 443




                                0625
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 309 of 443




                                0626
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 310 of 443




                                0627
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 311 of 443




                                0628
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 312 of 443




                                0629
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 313 of 443




                                0630
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 314 of 443




                                0631
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 315 of 443




                                0632
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 316 of 443




                                0633
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 317 of 443




                                0634
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 318 of 443




                                0635
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 319 of 443




                                0636
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 320 of 443




                                0637
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 321 of 443




                                0638
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 322 of 443




                                0639
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 323 of 443




                                0640
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 324 of 443




                                0641
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 325 of 443




                                0642
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 326 of 443




                                0643
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 327 of 443




                                0644
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 328 of 443




                                0645
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 329 of 443




                                0646
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 330 of 443




                                0647
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 331 of 443




                                0648
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 332 of 443




                                0649
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 333 of 443




                                0650
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 334 of 443




                                0651
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 335 of 443




                                0652
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 336 of 443




                                0653
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 337 of 443




                                0654
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 338 of 443




                                0655
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 339 of 443




                                0656
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 340 of 443




                                0657
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 341 of 443




                                0658
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 342 of 443




                                0659
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 343 of 443




                                0660
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 344 of 443




                                0661
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 345 of 443




                                0662
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 346 of 443




                                0663
             Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 347 of 443

BnnprryMuRcHrsoN                                                                                  bradleyfirm.com


KTLLY&SHEALLC
                                                                                                       Michael C. Mims
                                                                                                            Partner
                                                                                                      New Orleans Office
                                                                                                    direct: {504) 596-6136
Shreveport I New Orleans I Baton Rouge
                                                                                                   mmìms@ bradleyf i rm.com




                                                      January 18,2019

      VIA FACSIMILE ONLY 504.364.3780
      Hon. Jon Gegenheimer
      CLERK OF COURT
      24,, JDC,PARISH oF JEFFERSON
      P.O. Box 10
      Gretna, Louisiana 7 0054

                RE      FrederickAddison, et al v. Louisiana Regional Landfill Company, et al.
                        24th JDC,Parish of Jefferson, Case No. 790-369, Div. "J"
                        Our File: 12534-180394

      Dear Sir/Madam:

                Attached please f,rnd the following which I am presenting for fax filing

             o Ex Parte Motion for Admission of Co-Counsel Pro Hac Vice and Order for Megan R.
                Brillaut;
             o Ex Parte Motion forAdmission of Co-Counsel Pro Hac Vice and Order for John H. Paul;
             o Ex Parte Motion for Admission of Co-Counsel Pro Hac Vice and Order for James B.
                Slaughter; and
             o Ex Parte Motion for Admission of Co-Counsel Pro Hac Vice and Order for Michael G.
                Murphy;

          Please send me a return facsimile with the amount to cover the cost of filing same and I will
       promptly remit along with the original and three (3) copies of the notice.

                Should you have any questions, please feel free to contact me

                                                                                      (

                                                            Michael C. Mims

       MCM/kze
       Enclosure

       cc:      Byron M. Forrest




              1100 poydras st., Suite zloo   I New orleans, Louisiana zoror I T (504) 596-6300 I r (so+) 596-6301
                                                               0664
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 348 of 443




          2+TH JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON


                                    STATE OF LOUISIANA

NO.790-369                                                                   DIVISION "J''

                                FREDEzuCK ADDISON, et. al.,

                                             VERSUS

              LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), et. al.


                                     EX PARTE MOTION



       Defendant, Waste Connections US, Inc. ("WCUS") through undersigned counsel, moves

the Court to admit pro hac vice Megan R. Brillault, a member in good standing of the State of

New York and District of Columbia Bar, to serve as co-counsel of record in the above-captioned

matter. Ms. Brillault's admission is requested on an expedited basis because only one week after

Plaintiffs commenced this action, on December 20,2018, Plaintifß filed a motion seeking

expedited discovery and an expedited briefing and hearing schedule. On December 28, 2018,

WCUS filed an opposition to Plaintiffs' request for expedited briefing and hearing, and

simultaneously filed an exception of lis pendens. On January 7,2019, the Court granted

Plaintiffs' request for an expediæd hearing on their motion and scheduled a hearing on Plaintiffs'

motion and WCUS's exception, set for January 24, 2019. Given these extraordinary

circumstances that were not within WCUS's control, V/CUS respectfully requests that the Court

grant Ms. Brillault's admissionpro hac vice ator before the January 24ú hearing.

       In accordance with Rule XVII, Section 1343(iÐ, mover has attached hereto the letter

approving Ms. Brillaulf's pro hac vice application as well as proof of service on all parties.




                       (SIGNATURE BLOCK ON FOLLOWTNG PAGE)




                                               0665
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 349 of 443




                                     Respectfully submitted,

                                     BRADLEY MURCHIS             KELLY & SHEA LLC


                                     By
                                            David R. Taggart
                                            Louisiana Bar Roll No. 12626

                                            Michael C. Mims
                                            Louisiana Bar Roll No. 33991

                                     401 Edwards Street, Suite 1000
                                     Shreveport, Louisiana 71 1 01
                                     Telephone: (3 l8) 227 -l 13 I
                                     Facsimile: (3 18) 227 -I I4l
                                     Attorneys for Waste Connections US, Inc.




                                CERTIFICATE OF SER\¡ICE


       Undersigned counsel hereby certifies that a copy of the above and foregoing pleading has

been forwarded to counsel for all parties to this proceeding by placing same in the United States

Mail, postage prepaid and properly addressed, or via E-Mail or Facsimile, this l8ú day of

January, 2019.




                                                2



                                              0666
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 350 of 443



          LOTilSIANA ATTORNEY DISCIPLINARY BOARD
                       OFFICE OF TTIE DISCIPLINARY COLINSEL
                              4000 S. Sherwood Forest Blvd.
                                           Suite 607
                                 Baton Rouge, Louisiana 70816
                      (225) 293-3900  .I -800-326-8022 . F AX (225) 293 -33A0


                                          December 20,2018



Megan R- Briilault, Esq.
Beveridge & Diamond, P.C.
477 Madison Avenue - 15ù Floor
New Yorþ NY 10022

                        Re: 18-PIry-661
                               Seth H. Schaumburg
                               vs. Parish ofJefferson
                               Docket #786-052-Div N
Dear Ms. Brillault:

        The Louisiana Office of Disciplinary Counsel has received your applicationfor pro hac
vice adrnission in the State of Louisiana in connection with the matter of Seth H. Schaumburg vs.
Parish of Jefferson pending before ,ke 24th Judicial District Court ínthe Jefferson- A' review of
your application indicates that you are supported by your sponsoring attorney David R. Taggart,
who iJõurrently licensed and in good standing with the Louisiana State Bar. In all respects it
appears that your application is in appropriate format. The Offrce of Disciplinary Counsel
currently possesses no information upon which to base an opposition to your application-

       By copy of this correspondence to the presiding District Court Judge and your sponsoring
attomey, we are advising them of our approval of your application-

                                       Very truly yours,


                                                  *J-2
                                          CHARLES B. PI/.TTSMIER
                                          Chief Discþlinary Counsel

CBP/pab
cc:   Honorable Stephen Enright
      David R. Taggart, Esq.




                                                   0667
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 351 of 443




          24TH ruDICIAL DISTRICT CoURT FoR THE PARISH oF JEFFERSoN


                                    STATE OF LOUISIANA

NO.790-369                                                               DIVISION "J"

                                FREDERICK ADDISON, et. al.,

                                             VERSUS

              LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), et. al


                                             ORDER


       Considering the above and foregoing Motion;

       IT IS ORDERED that Megan R. Brillault, duly licensed practitioner in the State of New

York and District of Columbia, be admitted pro hac vice as co-counsel for Defendant Waste

Connections US, lnc., in this matter.

       Gretna, Louisiana, this _        day of January,2}l9.




                                                               DISTRICT JUDGE




DEFENDANTS WILL SERVE THE FOLLOWING PARTIES VI LA. C.C.P. ART. 1313
AS FOLLOWS:

Byron M. Forrest
Nicholas V. Cressy
S, Eliza James
Forrest Cressy & James, LLC
One Canal Place
365 Canal Street, Suite 1475
New Orleans, LA 70130

Barry S. Neuman
Erik Bolog
C. Allen Foster
Adrian Snead
Whiteford Taylor Preston, LLP
1800 M Street, N'W
Suite 450N
Washington, DC 20036

[Continued on next pageJ




                                               0668
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 352 of 443




Aptim Corporation
Through its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

Jefferson Parish
Parish Attorney
l22l Elmwood Park Blvd., Suite 701
Jefferson, LA70123




                                      2



                                     0669
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 353 of 443




          24TH JUDICIAL DISTRICT CoURT FOR THE PARISH OF JEFFERSON


                                    STATE OF LOUSIANA

NO.790-369                                                                  DIVISION "J"

                                FREDERICK ADDISON, et. a1.,

                                            VERSUS

              LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), et. al


                                     EX PARTE MOTION
                                                                          VICE


       Defendant Waste Connections US, Inc. ("V/CUS"), through undersigned counsel, moves

the Court to admit pro hac vice larnes B. Slaughter, a member in good standing of the State of

Virginia and District of Columbia Bar, to serve as co-counsel of record in the above-captioned

matter. Mr. Slaughter's admission is requested on an expedited basis because only one week

after Plaintiffs commenced this action, on December 20,2018, Plaintiffs filed a motion seeking

expedited discovery and an expedited briefing and hearing schedule. On December 28, 2018,

WCUS filed an opposition to Plaintiffs' request for expedited briefing and hearing, and

simultaneously filed an exception of lis pendens. On January 7,2019, the Court granted

Plaintiffs' request for an expedited hearing on their motion and scheduled a hearing on Plaintiffs'

motion and V/CUS's exception, set for January 24, 2019. Given these extraordinary

circumstances that were not within V/CUS's control, V/CUS respectfully requests that the Court

grant Mr. Slaughter's admissionpro hac vice ator before the January 24th hearing.

       In accordance with Rule XVII, Section 1343(ii), mover has attached hereto the letter

approving Mr. Slaughter's pro hac vice application as well as proof of service on all parties.




                       (SIGNATURE BLOCK ON FOLLOWTNG PAGE)




                                               0670
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 354 of 443




                                     Respectfully submitted,

                                     BRADLEY MURCHISON KELLY & SHEA LLC


                                     By:    ?A
                                            David R. Taggart
                                                                      f


                                            Louisiana Bar Roll No. 12626

                                            Michael C. Mims
                                            Louisiana Bar Roll No. 33991

                                     401 Edwards Street, Suite 1000
                                     Shreveport, Louisiana 7 1 1 0l
                                     Telephone: (3 18) 227 -l 13 I
                                     Facsimile: (3 18) 227 -l | 41
                                     Attorneys for Waste Connections US, Inc.




                                CERTIFICATE OF SERVICE


       Undersigned counsel hereby certifies that a copy of the above and foregoing pleading has

been forwarded to counsel for all parties to this proceeding by placing same in the United States

Mail, postage prepaid and properly addressed, or via E-Mail or Facsimile, this lSth day of

January,2019.




                                                2



                                              0671
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 355 of 443


          LOUISIANA ATTORNBY DISCPLINARY BOARD
                       OFFICE OF THE DISCPLINARY COI]NSEL
                              4000 S. Sherwood Forest Blvd.
                                          Suite 607
                                 Baton Rouge, Louisiana 70816
                                      .
                      (225) 293-3900 1-800-326-8022 . FAX (225) 293-3300

                                          December 20,2018



James B. Slaughter, Esq.
Beveridge & Diamond, P.C.
1350 I Street, NW - Suite 700
Washington, DC 20005

                        Re:     18-PFry-660
                              Seth H. Schaumburg
                              vs. Parish of Jefferson
                              Docket #786-052 - Div N
Dear Mr. Slaughter:

        The Louisiana Office of Disciplinary Counsel has received your applicationfor pro hac
vi¿e admission in the State of l¡uisiana in connection with the matter of Seth H. Schaumburg vs.
Parísh of Jefferson pending before the 24th Judicial District Court inthe Jefferson. A review of
your application indicates that you are supported by your sponsoring atlorney David R. Taggart,
who is currently licensed and in good standing with the Louisiana State Bar. In all respects it
appears that your application is in appropriate format. The Office of Disciplinary Counsel
currently possesses no information upon which to base an opposition to your application.

       By copy of this correspondence to the presiding Disûict Court Judge and your sponsoring
attorney, we are advising them of our approval of your application.

                                      Very truly yours,



                                      CHARLES B.
                                      Chief Disciplinary Cor¡nsel

CBP/pab
cc:   Honorable Stephen Enright
      David R. Taggart, Esq.




                                                  0672
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 356 of 443




          24TH JIJDICIAL DISTzuCT COURT FOR THE PARISH OF JEFFERSON

                                   STATE OF LOUISIANA

NO.790-369                                                            DIVISION "J''

                                FREDERICK ADDISON, et. al.,

                                             VERSUS

              LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), et. al.


                                             ORDER


       Considering the above and foregoing Motion;

       IT IS ORDERED that James B. Slaughter, duly licensed practitioner in the State of
Virginia and District of Columbia, be admitted pro hac vice as co-counsel for the Defendant

Waste Connections US, Inc. in this matter.

       Gretna, LOUISIANA,     this       day of January,2}l9.




                                                          DISTRICT ruDGE




DEFENDANTS WILL SERVE THE FOLLO\ilING PARTIES VI LA. C.C.P. ART. 1313
AS FOLLO\WS:

Byron M. Forrest
Nicholas V. Cressy
S. Eliza James
Forrest Cressy & James, LLC
One Canal Place
365 Canal Street, Suite 1475
New Orleans, LA 70130

Barry S. Neuman
Erik Bolog
C. Allen Foster
Adrian Snead
Whiteford Taylor Preston, LLP
1800 M Street, NV/
Suite 450N
Washington, DC 20036

[Continued on next pageJ




                                              0673
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 357 of 443




Aptim Corporation
Through its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

Jefferson Parish
Parish Attomey
I22I Elmwood Park Blvd., Suite 701
Jefferson, LA70123




                                       2



                                     0674
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 358 of 443




          24TH JUDICIAL DISTRICT CoURT FoR THE PAzuSH OF JEFFERSON


                                   STATE OF LOUISIANA

NO.790-369                                                                 DIVISION "J"

                               FREDERICK ADDISON, et. al.,

                                           VERSUS

              LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), et. al.


                                    EX PARTE MOTION



       Defendant V/aste Connections US, Inc. ("WCUS"), through undersigned counsel, moves

the Court to admít pro hac viceMichael G. Murphy, a member in good standing of the States of

New York, New Jersey, and District of Columbia Bar, to serve as co-counsel of record in the

above-captioned matter. Mr. Murphy's admission is requested on an expedited basis because

only one week after Plaintiffs commenced this action, on December 20,2018, Plaintiffs filed a

motion seeking expedited discovery and an expedited briefing and hearing schedule. On

December 28,2018, V/CUS filed an opposition to Plaintiffs' request for expedited briefing and

hearing, and simultaneously filed an exception of lis pendens. On January 7,2019, the Court

granted Plaintiffs' request for an expedited hearing on their motion and scheduled a hearing on

Plaintiffs'motion and WCUS's exception, set for January 24,2019. Given these extraordinary

circumstances that were not \Mithin WCUS's control, WCUS respectfully requests that the Court

grant Mr. Murphy's admissionpro hac vice ator before the January 24ú hearing.

       In accordance with Rule XVII, Section l3A3(ii), mover has attached hereto the letter

approving Mr. Murphy's pro hqc vice application as well as proof of service on all parties.




                       (STGNATURE BLOCK ON FOLLOV/ING PAGE)




                                              0675
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 359 of 443




                                     Respectfully submitted,

                                     BRADLEY MURCHISON KELLY & SHEA LLC
                                                        \          \
                                     By:
                                            David R. Taggart
                                            Louisiana Bar Roll No. 12626

                                            Michael C. Mims
                                            Louisiana Bar Roll No. 33991

                                     401 Edwards Street, Suite 1000
                                     Shreveport, Louisiana 7 I | 0l
                                     Telephone: (3 18) 227 -I 13 I
                                     Facsimile : (3 I 8) 221 -l I 4l

                                     Attorneys for Waste Connections US, Inc.




                                CERTIFICAT4 OF SERVICE


       Undersigned counsel hereby certifies that a copy of the above and foregoing pleading has

been forwarded to counsel for all parties to this proceeding by placing same in the United States

Mail, postage prepaid and properly aádrersed, or via E-Mail or Facsimile, this 18th day of

January,2019.

                                                            \




                                                2



                                             0676
  Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 360 of 443


         LOUISIANA ATTORNEY DISCIPLINARY BOARD
                    OFFICE OF THE DISCPLINARY COUNSEL
                           4000 S. Sherwood Forest Blvd.
                                       Suite 607
                              Baton Rouge, Louisiana 70816
                   (225) 293-3900   .
                                    1-800-32 6-8022. FAX (225) 293-3300

                                        December 20,2018



Michael G. Murphy, Esq.
Beveridge & Diamond, P.C.
477 Madison Avenue - 15ù Floor
New York,l.{Y 10022

                      Re: l8-PIIV-658
                             Seth H. Schaumburg
                             vs. Parish of Jefferson
                             Docket #786-052 - Div N
DearMr. Murphy:

       The I¡uisiana Office of Disciplinary Counsel has received your applicationfor pro hac
vice admission in the State of I-ouisiana in connection with the matter of Seth H. Schaumburg vs.
Parish of Jffirsonpending before rhe 24th Judìcíal Dístrict Courtin+heJefferson. A review of
your application indicates that you are supported by your sponsoring aftorney David R. Taggart,
who is currently licensed and in good standing with the Louisiana State Bar. fn all respects it
appears that your application is in appropriate format. The Office of Disciplinary Counsel
c¡rrently possesses no inforrnation upon which to base an opposition to your application.

       By copy of this correspondence to the presiding District Court Judge and your sponsoring
attorney, we are advising them of our approval of your application-

                                     Very truly yours,




                                     CHARLES B. PLATTSMIER
                                     Chief Disciplinary Counsel

CBP/pab
cc:   Honorable Stephen Enright
      David R. Taggart, Esq.




                                                0677
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 361 of 443




          24TH JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON


                                   STATE OF LOUISIANA

NO.790-369                                                           DIVISION "J"

                                FREDERICK ADDISON, et. 41.,

                                          VERSUS

              LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), et. al.


                                           ORDER


       Considering the above and foregoing Motion;

       IT IS ORDERED that Michael G. Murphy, duly licensed practitioner in the States of

New York, New Jersey, and District of Columbia, be admitted pro hac vice as co-counsel for

Defendant Waste Connections US, Inc., in this matter.

       Gretna, LOUISIANA,    this       day of January,2}l9.




                                                         DISTRICT ruDGE




DEFENDANTS \ilILL SERVE THE FOLLOWING PARTIES VI LA. C.C.P. ART. 1313
AS FOLLOWS:

Byron M. Forrest
Nicholas V. Cressy
S. Eliza James
Forrest Cressy & James, LLC
One Canal Place
365 Canal Street, Suite 1475
New Orleans, LA 70130

Barry S. Neuman
Erik Bolog
C. Allen Foster
Adrian Snead
Whiteford Tøylor Preston, LLP
1800 M Street, NW
Suite 450N
Washington, DC 20036

[Continued on next pageJ




                                             0678
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 362 of 443




Aptim Corporation
Through its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

Jefferson Parish
Parish Attorney
1221 Elmwood Park Blvd., Suite 701
Jefferson, LA70I23




                                      2



                                     0679
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 363 of 443




          24TH JUDICIAL DISTRICT COURT FoR THE PARISH oF JEFFERSoN


                                    STATE OF LOUISIANA

NO.790-369                                                                  DIVISION "J''

                                FREDERICK ADDISON, et. al.,

                                            VERSUS

              LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), et. al.


                              EX PARTE MOTION
                  FOR ADMISSION OF CO-COUNSEL PRO HAC VICE


       Defendant Waste Connections US, Inc. ("WCUS"), through undersigned counsel, moves

the Court to admit pro hac vice John H. Paul, a member in good standing of the State of New

York and District of Columbia Bars, to serve as co-counsel of record in the above-captioned

mafter. Mr. Paul's admission is requested on an expedited basis because only one week after

Plaintiffs commenced this action, on December 20,2018, Plaintiffs f,rled a motion seeking

expedited discovery and an expedited briefing and hearing schedule. On December 28,2018,

WCUS filed an opposition to Plaintifß' request for expedited briefing and hearing, and

simultaneously filed an exception of lis pendens. On January 7, 2019, the Court granted

Plaintiffs' request for an expedited hearing on their motion and scheduled a hearing on Plaintiffs'

motion and WCUS's exception, set for January 24, 2019. Given these extraordinary

circumstances that were not within WCUS's control, WCUS respectfully requests that the Court

grant Mr. Paul's admissionpro hac vice ator before the January 24th hearing.

       In accordance with Rule XVII, Section 1343(ii), mover has attached hereto the letter

approving Mr. Paul's pro hac vice application as well as proof of service on all parties.




                       (SIGNATURE BLOCK ON FOLLOV/rNG PAGE)




                                               0680
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 364 of 443




                                     Respectfully submitted,

                                     BRADLEY MURCHISON KELLY & SHEA LLC

                                                                  ¡
                                     By:
                                            David R. Taggart
                                            Louisiana Bar Roll No. 12626

                                            Michael C. Mims
                                            Louisiana Bar Roll No. 33991

                                     401 Edwards Street, Suite 1000
                                     Shreveport, Louisiana 7l 101
                                     Telephone: (3 18) 227 -l 13 I
                                     Facsimile: (318) 227 -l l4I

                                     Attorneys for Waste Connections US, Inc




                                CERTIFICATE OF SERVICE


       Undersigned counsel hereby certifies that a copy of the above and foregoing pleading has

been forwarded to counsel for all parties to this proceeding by placing same in the United States

Mail, postage prepaid and properly addressed, or via E-Mail or Facsimile, this 18ú day of

January, 2019.
                                                       I               ¡




                                                2



                                              0681
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 365 of 443


         LOUISIANA ATTORNEY DISüPLINARY BOÁ.RD
                    OFFICE OF TIIE DISCIPLINARY COT]NSEL
                           4000 S. Sherwood Forest BIvd.
                                        Suite 607
                               Baton Rouge, Louisiana 70816
                  (225) 293-3900. 1-800-326-8022. FAX (nÐ 293-3300

                                     December 20,2018



John Henry Paul, Esq.
Beveridge & Diamond, P.C.
477 Madison Avenue - i5û Floor
New Yorþ NY 10022

                      Re:    18-Prrv-6s9
                             Seth H- Schaumburg
                             vs. Parish ofJefferson
                             Docket #786-052 -Div N
DearMr. Paul:

        The Louisiana Office of Disciplinary Counsel has received your applicationfor pro hac
vice admission in the State of t¡uisiana in connection with the matter of Seth H. Schaumburg vs.
parish of Jffirsonpending before t}re 24th Judicial District Court inthe Jffirson. Areview of
yoo,              indicates that you are supported by your sponsoring attorney David R- Taggart,
ino i, ô".rently licensed and in good standing with the l¡uisiana State Bar. In all respects it
      "pili"ation
appears that your application is in appropriate format. The Office of Disciplinary
                                                                                     Counsel
c1rientþ possesses no information    upon  which  to base an opposition to your application-


        By copy of this correspondence to the presiding District Court Judge and your sponsoring
attorney, we afe advising them of our approval of your application-

                                     Very trulY Yours,




                                     CHARLES B          TTSMIER
                                     Chief Disciplinary Counsel


 CBP/pab
 cc:   Honorable StePhen Effight
       David R. Taggart, Esq.




                                                0682
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 366 of 443




          24'H ruDICIAL DISTzuCT CoURT FoR THE PAzuSH oF JEFFERSoN

                                    STATE OF LOUISIANA

NO.790-369                                                            DIVISION "J''

                                 FREDEzuCK ADDISON, et. al.,

                                          VERSUS

              LOUISIANA REGIONAL LANDFILL COMPANY (LRLC), et. al


                                          ORDER


       Considering the above and foregoing Motion;

       IT IS ORDERED that John H. Paul, duly licensed practitioner in the State of New York

and District of Columbia, be admiued pro hac vice as co-counsel for Defendant V/aste

Connections US, Inc., in this matter.

       Gretna, LOUISIANA,      this     day of January,2}l9.




                                                         DISTzuCT JUDGE




DEFENDANTS WILL SERVE THE FOLLOWING PARTIES \rI LA. C.C.P. ART. 1313
AS FOLLO\ilS:

Byron M. Forrest
Nicholas V. Cressy
S. Eliza James
Forrest Cressy & James, LLC
One Canal Place
365 Canal Street, Suite 1475
New Orleans, LA 70130

Barry S. Neuman
Erik Bolog
C. Allen Foster
Adrian Snead
V[hiteford Taylor Preston, LLP
1800 M Street, NW
Suite 450N
Washington, DC 20036

[Continued on next pageJ




                                            0683
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 367 of 443




Aptim Corporation
Through its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

Jefferson Parish
Parish Attomey
T22l Elmwood Park Blvd., Suite 701
Jefferson, LA70123




                                      2



                                     0684
            Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 368 of 443

BnnnuvMuRcHrsoN                                                                                 bradleyfirm.com


KTLLY & S HEA LLC
                                                                                                     Michael C. Mims
                                                                                                          Partner
                                                                                                    New Orleans Office
                                                                                                  direct: (504) 596-6136
Shreveport I Uew Orleans I naton Rouge
                                                                                                 mmims@ brad leyf irnr.com




                                                    January 22,2019



      VIA F¿,CSIMILE ONLY 504.364.3780
      Hon. Jon Gegenheimer
      CLERK OF COURT
      241' JDC, PARISH oF JEFFERSON
      P.O. Box 10
      Gretna, Louisiana 7 0054

              RE      FrederickAddison, et al v. Louisiana Regional Landfill Company, et al
                                                                           o'J"
                      24th JDC,Parish of Jefferson, Case No. 790-369, Div.
                      Our File: 12534-180394

      Dear Sir/Madam:

              Attached please find a copy of Defendant Waste Connections IJs, Inc.'s Combined Reply
       Memorandum in Support of Its Declinatory Exception of Lis Pendens and Motion to Stay and
       Response to Plaintiffs' "Objection to Untimely Filing" which I am presenting for fax filing.
       Please send me a return facsimile with the amount to cover the cost of filing same and I will
       promptly remit along with the original and three (3) copies of the notice.

              Should you have any questions, please feel free to contact me.

                                                                 trul¡
                                                                 t

                                                                     C. Mims

       MCN{/kze
       Enclosure

       cc     Byron M. Forrest




            1100 Poydras st., su¡te ztoo   I New orleans, Louisiana zoro: I T (504) 596-6300 | r lsoa¡ 596-6301
                                                             0685
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 369 of 443




                z4'H JUoICIAL DISTzuCT FoR THE PAzuSH oF JEFFERSoN

                                      STATE OF LOUISIANA

NO.790-369                                                                            DIVISION "J"

                                  FREDERICK ADDISON, et. al.

                                               VERSUS

                    LOUISIANA REGIONAL LANDFILL COMPANY, et. al.


            DEFENDANT WASTE CONNECTIONS US, INC.'S COMBINED
           REPLY MEMORANDUM IN SUPPORT OF ITS DECLINATORY
            EXCEPTION OF LIS PENDENS AND MOTION TO STAY AND
         RESPONSE TO PLAINTIFFS' "OBJECTION TO UNTIMELY FILING"

        The Addison Plaintiffs' January 16 Opposition essentially acknowledges that Defendant

Waste Corurections U.S., Inc. ("Waste Connections") has established the requirements for the

exception of lis pendens and falls back on an argument that application of the doctrine would be

"unfair." To the contrary, unrebutted Louisiana law establishes that the proper and just result -

both for the Defendants and for the many putative class members of the prior filed suits - is to

stay the Addison action.

        Plaintiffs do not contest that (i) they filed this action in state court while four duplicative

putative class action suits were pending in federal court, (ii) their suit is based on the same

transaction or occurrence as the putative class action suits, or (iii) the same Defendants are

named in all five actions. Instead, Plaintiffs only challenge whether there is an identity of

plaintiffs among the cases. Specifically, Plaintiffs claim that because they have not alleged they

are members of any putative class (even though they have explicitly left open the option of

joining the class if certified), there is no identity of parties between the Addisor¡ Plaintiffs and the

class actions. This spurious argument contradicts the pleadings and misapprehends the basic

tenets of lis pendens and class action law, which in no way require that late-filing plaintiffs selÊ

identi$ as class members. Plaintiffs' remaining arguments regarding fairness and purported

constitutional violations are unsupported rhetoric that lack any merit. The Court should exercise

its discretion under Louisiana Code of Civil Procedure Articles 531 and 532 and grant the




                                                   I


                                                 0686
     Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 370 of 443




exception of lis pendens staying this matter at least until the question of class certification is

determined in the federal class actions that Plaintiffs have simply mimicked.

I.     ARGUMENT

       A.       Plaintiffs cannot avoid a stay of their duplicative action merely because they
                'odo not allege they are members of any class."

       Plaintiffs incorrectly argue that the exception of lis pendens does not apply because they

have not affrrmatively claimed to be members of the putative class proposed in the federal cases.

This appears to be an attack on the "same parties" element of the lis pendens exception. Class

action law, however, does not allow a late-filing plaintiff to disavow a class at this stage of the

litigation. Whether Plaintiffs explicitly claim to be members of the putative class has no bearing

on whether they actually are members of the putative class.

        The exception of lis pendens bars putative class members from filing duplicative law

suits during the pendency of an earlier-filed class action. Aisola v. La. Citizens Prop. Ins. Corp.,

14-1708 (La. l0ll4ll5); 180 So. 3d 266,270 (reversing trial court's denial of lis pendens based

on 'osame parties" element where plaintiffs in individual suit against defendant were also

members of similar putative class action). This is so because the earlier-filed class action would

be res judicata of the identical claims raised by the plaintiffs in their individual suits. .Id aI27I

("The pu{pose and intent of class action procedure is to adjudicate and obtain res judicata effect

on all common issues applicable not only to the representatives who bring the action, but to all

others who are 'similarly situated'. . . .").

        Furthermore, under both federal and state class action law, an individual falling within

the definition of the proposed class is a putative member of that class, until: (i) the class is

certified pursuant to Federal Rules of Civil Procedure 23(bX3), or the state equivalent, La. Code

Civ. Proc. an. 591(B)(3), and the individual then opts out of the class action; or (ii) class

certification is denied. See Duckworth v. La. Farm Bureau Mut Ins. Co., 2011-2835 (La.

lll2lI2),125 So. 3d 1057, 1070 ("The decision to request exclusion or to 'opt out' is made, not
at the time of filing a class action petition, but after the class is certihed, notice is issued, and a

timely election form is submitted."); Quinn v. La. Citizens Prop. Ins. Corp.,2012-0152 (La.

IIl2lI2),118 So. 3d 1011, 1016 ("when a class action is certif,red in Louisiana, all persons who


                                                  2



                                                0687
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 371 of 443




fall within the class definition are class members. The only avenue for requesting exclusion from

a class once it is certified is by the timely submission of an election form."); Lee-Bolton v.

Koppers Inc., 848 F. Supp. 2d 1342, 1350 (Ì{.D. Fla. 2011) ("fP]otential class members in a

putative class action cannot validly opt out of becoming class members until after they receive

the required notice under Rule 23.").

        The Addison Plaintiffs do not dispute that they fall within the class definition in the

federal cases. See, e.g., Affidavit of David R. Taggart, dated Jan. 15, 2019 (submitted with Waste

Connections Memorandum in Support of Declinatory Exceptions of Lis Pendens) ("Taggart

Aff.") Ex. B at VII(a) ("[P]ersons domiciled of and/or within the Parish of Jefferson . . . who

sustained legally cognizable damages . . as a result of the Defendant(s)' acts that caused the

emission of noxious odors and gases."). The Addison Plaintiffs are putative members of the

proposed class action and an identity ofthe parties exists because none ofthe federal cases have

reached the class certification stage. Allowing individual lawsuits, like Addison, to proceed while

a class action is pending and certification status has not been determined, would result in the

'oneedless multiplicity of actions [which] . . . Federal Rule of Civil Procedure 23 . . . w[as]

designed to avoid." Crown, Cork & Seal Co., Inc. v. Parker,462 U.5.345,351 (1983).

Accordingly, the Addison Plaintiffs should be baned from prosecuting their individual lawsuits

until class certification is granted and Plaintiffs timely opt out of the class action, or certification

is denied. See Ducbworth,20II-2835, 125 So.3d at 1070; accord Hanis v. La. Citizens Prop.

Ins. Co., 14-120 (La. App. 5 Cir. l0l29ll4);164 So. 3d216,222 ("because class certification

was denied in Buxton and the Buxton suit may only remain between the named parties, there no

longer exists an identity of parties between the named plaintiffs in the Buxton suit and plaintiff in

the instant individual suit.").

        Plaintiffs seek to distinguish Holmes v. La. Citizens Prop. Ins. Co.,14-598, (La. App. 5th

Cir. 2125115); 168 So.3d 792, and other lis pendens decisions baning putative class members

from maintaining individual lawsuits prior to a ruling on class certification by arguing that they

"do not allege they are members of any class that might be certified in other litigation." Pts. Opp.

at 5 (emphasis added). But alleging (or, in Plaintiffs' case, not alleging) to be a member of a

putative class has no legal signif,rcance prior to a determination on class certification. Nothing in

                                                   a
                                                   J




                                                 0688
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 372 of 443




Holmes suggests that the lis pendens exception would have been denied but for the plaintiff s

allegation that she was a member of the putative class. The plaintiff s admission simply mooted

any need to examine the issue further. Here, as noted above, the Addiso¡¿ Plaintiffs are expressly

within the defined putative class and their individual duplicative lawsuit should be stayed under

La. Code Civ. Proc. art 532, or in the event the federal class actions are remanded prior to the

Court's ruling on this exception, dismissed pursuant to La. Code Civ. Proc. art. 531.

         B.       Louisiana law does not recognize a *continuing harm" exception to lis
                  pendens, which in any event Ís an allegation in the prior cases.

         Plaintiffs seem to suggest that the Court should craft a new "continuing harm" exception

to the well-established statutory doctrine of lis pendens. No authority supports this notion, which

would eviscerate the doctrine. Plaintiffs simply state that because they allege a continuing tort it

would be "unfair" for them to wait for a ruling on class certification in the identical federal cases

before proceeding in this duplicative matter. The argument is meritless.

         The nature of the purported harm is not an element of the lis pendens exception. Rather,

"an exception of lis pendens should be sustained if a final judgment in the first suit would be res

judicata in the subsequently filed suit." Aisola, 14-1708, 180 So. 3d at269 (intemal quotation

marks omitted). The exception is not dependent upon the damages alleged or the relief sought,

but on whether the cases are between the same parties and involve the same transaction or

occuffence.l Broolcs IØell Servicing, Inc. v. Cudd Pressure Control, 1nc.,36,723 (La. App. 2 Cir.

6127 103); 850 So. 2d 1027, 1031.


         Furthermore, Plaintiffs' colorful and unsupported allegations of continuing harm are

belied by their own inaction. The Addison Plaintiffs stood on the sidelines for almost five months

while nuisance lawsuits against Defendants piled up in the face of extensive media coverage

about odors allegedly originating from the Jefferson Parish Landfill. Despite their claims of

continuing harm, Plaintiffs have not sought a preliminary injunction against the Landfill.

Meanwhile, plaintiffs in pending state and federal class actions filed against Defendants months

ago are actively pursuing the same injunctive relief sought by the Addison Plaintiffs.


t
  The Addiso, Plaintiffs unsuccessfully attempt to differentiate their case because, in addition to allegations of
odors, they also allege that toxic chemicals are being emitted from the Landfill causing physical harm. pls. Opp. at
2, n.3. However, the federal class actions are not limited to allegations of odors, but similarly include allegations of
noxious gases emanating from the Landfrll resulting in physical harm. ,See, e,g.,TaggarIAff. Ex. E at V, VI.

                                                            4



                                                         0689
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 373 of 443




        Finally, Plaintiffs' generic claims about "fairness" actually counsel in favor of granting

Defendants' exception. First, it would be fundamentally unfair for Defendants to defend against

over 80 state Plaintiffs' duplicative tort claims while simultaneously defending against four

identical putative class actions in federal court before class action status is determined.

Simultaneous discovery and motions practice regarding class certification and an identical mass

tort will generate inconsistent rulings, duplicate discovery, waste judicial and the parties'

resources, and result in the "needless multiplicity of actions" class actions were designed to

avoid. Second, if the class is certified, the Addison Plaintiffs may decide they want to take

advantage of the streamlined class action process and avoid the resource-intensive nature (and

intrusive discovery) of an individual lawsuit. Indeed, they have admittedly left this option open.

See Pls. Opp. at 5 ("plaintiffs may or may not choose to join" the class if certified).

        C.      The Lis Pendens Exception is Not Unconstitutional

        Plaintiffs argue in passing that application of the lis pendens exception would violate

their "constitutional right to access the courts of this state." Pls. Opp. at 6. Plaintifß' argument

contains no analysis and appears to rest entirely on a two-parugraph summary of Christus Health

Sw. La. v. All About You Home Healthcare, Inc., Pls. Opp. at 6, an unpublished workers'

compensation decision that does not discuss, cite, or otherwise relate in any way to La. Code

Civ. Proc. arts. 53 1, 532 or the doctrine of lis pendens.

        Christus Health is completely dissimilar to the Addison lawsuit and in no way suggests

that applying lis pendens is unconstitutional. In Christus Health,l0 days before trial, defendants

in a workers' compensation reimbursement action requested an indefinite stay while awaiting a

decision in a class action pending before the same court. Critically, the Christus Health decision

was not decided on res judicata grounds, much less under the law of lis pendens. Instead,

Christus Health merely affirmed the trial court's decision not to exercise its inherent power to

continue or stay a case. Furthermore, the defendant in the pending class action matter was not

even a defendant the Christus Health case. In sum, Christus Health has nothing to do with lis

pendens and is little more than an unpublished opinion dismissing defendants' meritless last-

ditch effort to avoid trial.




                                                   5



                                                 0690
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 374 of 443




        Even separate from Christus Health, Plaintiffs' purported "access to the courts"

constitutional argument is illogical on its face. Specifically, the defenses of res judicata and lis

pendens rely on the very fact that Plaintiffs are accessing the courts and their claims are being

addressed in the putative class actions. The class action process is designed to ensure plaintiffs'

due process rights are protected, "automatically provid[ing] the right of notice and opt-out to

individuals who do not want their monetary claims decided in a class action." Allison v. Citgo

Petroleum Corp., 151 F.3d 402, 413 (5th Cir. 1998) (citing Fed. R. Civ. P. 23(b). All of

Plaintiffs' arguments lack merit and cannot invalidate a lis pendens statute supported by decades

of published case law staying or dismissing duplicative suits.

         D.       Defendants' supplemental memorandum was timely fÏled.

         V/aste Connections filed its supplemental memorandum in a timely manner consistent

with Louisiana law and the procedural posture of the case. Plaintiffs are not prejudiced by this

filing over a week in advance of the hearing and the Court should reject Plaintifß' tortured

reading of the Louisiana rules that ignores the sequence of filings here.

         Waste Connections was served with the Addison Petition on December 17,2018. On

December 20,2018, Plaintifß filed their motion for expedited discovery. That motion requested

a hearing date of January 24,2019, and proposed an expedited briefing schedule, which included


a proposed deadline for Defendants' opposition of January 7,2019.2 Based on the motion's

request for expedited consideration, as well as the extraordinary relief prayed for, Waste

Connections filed an immediate response on December 28, 2018. Furthermore, to avoid any risk

of waiving its defenses,3 Waste Connections filed its exception of lis pendens and incorporated

memorandum prior to filing its response to Plaintiffs' discovery motion, which it also filed on

December 28.In that filing, Waste Connections stated it would supplement the exception with

additional briefing on or before January 16,2019, the deadline for filing responsive pleadings.a

Plaintiffs did not object to Waste Connections' statement.



t Only after Waste Connections filed its initial
                                                opposition to the expedited discovery motion did Plaintiffs inform the
parties and the Court that they mistakenly included the January 7 proposed opposition deadline.
3
  SeeLa. Code of Civ. Proc. art.928.
a
   Waste Connections was served on December 17 ,2018. The service was made pursuant to the long arm statute,
thereby affording Waste Connections 30 days within which to file responsive pleadings. SeeLa. Rev. Stat. Ann. g
 l3:3205. Thus, Waste Connections' deadline for f,rling responsive pleadings was January 16,2019.

                                                          6



                                                        0691
      Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 375 of 443




         Louisiana law allowed Waste Connections until January 16 to file responsive pleadings.

Nonetheless, Plaintiffs seem to argue that on top of the pleadings that W'aste Connections \ilas

already forced to prepare over the holidays, Waste Connections also should have scrambled to

provide Plaintiffs with a more substantial memorandum of authorities in support of its exception

of lis pendens. The Court should disregard Plaintiffs' gamesmanship.

         Furthermore, Plaintiffs have not suffered any prejudice. The exception filed on December

28 included an incorporated memorandum, citing to "both the relevant facts and applicable law"

as required by Rule 9.9(b) of the Uniform District Court Rules. Specifically, that incorporated

memorandum detailed that the Petition was nearly identical to four previously filed actions

pending in the Eastern District of Louisiana, and that a dismissal or stay was warranted under the

governing authorities. The incorporated memorandum discussed La. Code Civ. Proc. arts. 531

and 532, as well as the Louisiana Supreme Court's opinion in Aisola and related case law. The

exception and incorporated memorandum were served on Plaintifß' counsel by e-mail on

December 28,2018, in compliance with Rule 9.9(b) of the Uniform District Court Rules.s

         Plaintifß had ample opportunity to prepare a timely response. In fact, Plaintiffs did file

such a response on January 16,2019. Plaintiffs will also be afforded an opporfunity to elaborate

on their position at oral argument on January 24,2019.

         The Court should reject Plaintiffs' objection to 'Waste Connections' January 15

memorandum. The brief was filed prior to the deadline for filing responsive pleadings and

Plaintiffs' own accelerated discovery filings over the holidays compelled Defendants to file their

initial exception brief on December 28, and Plaintiffs have suffered no prejudice from Waste

Connections' supplemental filing on January 15.

il.      CONCLUSION

         Plaintiffs' lawsuit is duplicative of four federal class actions arising from the same facts,

alleging the same causes of action, against the same defendants. Because Plaintiffs are also

members of the putative class in these federal cases and the time for opting out of the proposed


s
  Additionally, although the Uniform District Court Rules require the original exception and memorandum to be
furnished to the Court and opposing counsel at least 15 days before the hearing, the rules do not speak to whether a
palty may file an additional memorandum nine days prior to the hearing. The rules certainly contemplate that the
exceptor will have the last word, as they allow for a reply brief to be filed as late as two days before the hearing. See
Rule 9.9(d) of the Uniform District Court Rules.

                                                           7



                                                         0692
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 376 of 443




classes has not yet started, their individual lawsuit must be stayed under the doctrine of lis

pendens. Plaintiffs' arguments regarding continuing harm, purported unfairness, and alleged

constitutional violations have no support in the facts or the law. The court should grant

defendants' exception of lis pendens and stay this lawsuit until class certification in the federal

cases.


                                              Respectfully submitted,


                                              BRAD                   S
                                                                           ry'" & SHEA LLC
                                              By
                                                     R. Taggart
                                              (Louisiana Bar Roll No. 12626)
                                              401 Edwards Street, Suite 1000
                                              Shreveport, Louisiana 71 1 0 1
                                              Telephone: (318) 227 -lI3I
                                              Facsimile: (318) 227 -l I4l

                                              Michael C. Mims
                                              (Louisiana Bar Roll No. 33991)
                                              John B. Stanton
                                              (Louisiana Bar Roll No. 36036)
                                              1100 Poydras St., Suite 2700
                                              New Orleans, Louisiana 7 0163
                                              Telephone: (504) 596-6300
                                              Fax: (504) 596-6301

                                              BEVERIDGE & DIAMOND, P.C.

                                              James B. Slaughter Qtra hac vice pending)
                                              1350 I Street, N.'W., Suite 700
                                              V/ashington, DC 20005
                                              (202) 789-6000

                                              Michael G. Murphy (pro hac vice pending)
                                              Megan R. Brillault (pro hac vlce pending)
                                              John H. Paul Qtro hac vice pending)
                                              477 Madison Avenue, 15th Floor
                                              New York, NY 10022
                                              (2r2) 702-s400

                                              Counsel for Defendant Waste Connections US, Inc.




                                                   8



                                                0693
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 377 of 443




                                0694
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 378 of 443




                                0695
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 379 of 443




                                0696
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 380 of 443




                                0697
     Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 381 of 443




            24th JUDICIAL DISTRICT COUR FOR THE PARISH OF JEFFERSON
                                          STATE OF LOUISIANA
          SUIT NO.: 790-369                                                             DIVISION: “J”
                                     FREDERICK ADDISON, et al.,
                                                    VERSUS
                     LOUISIANA REGIONAL LANDFILL COMPANY, et al.


FILED: ___________________                                             ___________________________
                                                                          DEPUTY CLERK

    PETITIONERS’ REPLY MEMORANDUM IN SUPPORT OF THEIR REQUEST FOR
                         EXPEDITED DISCOVERY


          This memorandum is submitted on behalf of the petitioners in further support of their

request for expedited discovery, and in reply to the arguments raised by the defendants, Waste

Connections US, Inc. (“Waste Connections”) and Jefferson Parish (the “Parish”) in opposition to

petitioners’ request.

     I.      INTRODUCTION

          In opposing this request for discovery, Waste Connections argues that petitioners and their

expert, Dr. Chrostowski, have ignored available data concerning the Jefferson Parish Landfill;

disregarded the possibility of other pollution sources; and misrepresented the available data to

“wrongly imply that a public health risk exists.” Waste Connections Mem. at 3. None of this is

true.1 The available information (which Dr. Chrostowski did not ignore) does not come close to

providing the comprehensive “source emissions” data that is required to conduct a responsible

analysis of the full range of risks posed by the Landfill gases. As a scientific matter, it is simply

irresponsible for Waste Connections to claim that enough data has been collected to characterize

and quantify the hazards posed by the negligent manner in which the Landfill has been designed,

operated and maintained.




1  Waste Connections is so intent on discrediting Dr. Chrostowski that their own expert, Mr. Walsh, falsely asserts
that Dr. Chrostowski relied on and appended tables based on an air dispersion model known as “LandGEM,” Mr.
Walsh spends nearly a page critiquing the relative accuracy of LandGEM compared to other methods. Walsh Aff.
¶¶ 22-23. Dr Chrostowski neither mentioned, relied on, nor appended any LandGEM tables. On the other hand, Mr.
Walsh has recommended to Waste Connections that further investigation be conducted using LandGEM. See
Chrostowski Reply Aff. ¶24.




                                                       0698
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 382 of 443




        As Dr. Chrostowski explained in his initial Affidavit sworn to December 19, 2018: (1) no

data have been collected by the Parish or the State – either on the Landfill site itself or in the

community – concerning many hazardous chemicals typically found in landfill gas; and (2) the

limited sampling that has been conducted by the LADEQ in the community indicates the presence

of some carcinogens and other hazardous chemicals at levels that exceed EPA screening

thresholds. Exceedance of these thresholds means that a potential risk exists and further action –

whether investigation, remediation, or both – is warranted. Any responsible analysis of the

Landfill’s risks requires the type of source characterization that no one – not the defendants, and

not the government agencies charged with protecting public health – has ever conducted, but which

the petitioners are now prepared to conduct. The defendants fault petitioners for not being able to

prove definitively (at the outset of the case) the full extent of the harm caused by the Landfill gases

– but they seek to prevent petitioners from collecting the very information that would help

determine those facts.

        In the meantime, the persistent complaints of community residents, including petitioners,

about the adverse symptoms and impacts caused by odors they are experiencing are consistent

with reported health impacts of odors as documented by authorities such as the federal Agency for

Toxic Substance and Disease Registry (“ATSDR”). See Initial Chrostowski Aff. ¶ 17. Although

Waste Connections may refuse to accept it, 2 Parish and State officials identify the Landfill as the

source or likely source of these odors.

        Waste Connections downplays petitioners’ need for immediate site access on the grounds

that the millions of dollars in on-site remediation work now being undertaken simply consists of

“routine maintenance.” This characterization surely will come as news to the DEQ, the Parish and

the Parish’s consultants. Between April 2018 and October 2018, the community has registered

more than 1,800 complaints with state authorities about noxious odors. In April 2018 and again

in June 2018, the LDEQ served the Parish with compliance orders on account of the Landfill’s

waste which, according to the Louisiana Department of Health, are “known to cause the odor.”

http://www.jeffparish.net/modules/showdocument.aspx?documentid=19148                          (last          visited



2 Waste Connections is waging a campaign to have the DEQ to stop blaming the Landfill.See
https://www.waste360.com/nuisances/waste-connections-disputes-inaccuracies-jefferson-parish-landfill-suit.

                                                        2


                                                      0699
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 383 of 443




1/22/19), LDOH Report at 4. It is not “routine” when the LDEQ has been conducting nearly daily

on-site visits to the Landfill since October 2018. After conducting its own assessment of the

Landfill, the Parish’s consultant, Carson Environmental Consulting (“Carson” or “CEC”), was so

concerned about the dysfunctional state of the Landfill’s gas collection systems and hydrogen

sulfide levels that it made the following recommendation: “Jefferson Parish should immediately

take steps to train and equip employees and third-party contractors.” Carson Report at 2, Executive

Summary ¶ 1 (emphasis in original). See also Carson Report at 28 (“The Parish should

immediately conduct safety training and develop safety procedures for workers operating in an

environment with potentially elevated H2S emissions.”). 3 There is nothing “routine” about the

numerous problems documented by Carlson; the numerous public meetings and press conferences

that the Parish has instituted concerning the progress of the remediation, or the fact that the Parish

has devoted an entire portion of its website to posting weekly updates concerning the progress of

its efforts. See http://www.jeffparish.net/index.aspx?page=3652 (last visited 1/22/19). And there

is nothing routine about the extensive remediation measures that are now being undertaken.

Chrostowski Reply Affidavit sworn to Jan. 22, 2019 (“Chrostowski Reply Aff.”), ¶¶ 17-19.

          The very fact that Waste Connections would pretend that this is all business-as-usual

underscores the need for petitioners to access the Landfill site and conduct their own analysis as

soon as possible

    II.      ARGUMENT

    A. The Standards for Expedited Discovery are Met4

          There is no question that this Court has the authority to grant expedited discovery. See

Petitioners’ opening memorandum at 5-6. As defendants acknowledge, the fundamental issue to

be resolved is whether the need for expedited discovery outweighs the prejudice to the defendants.

BKGTH Prods., LLC v. Does 1-20, No. 13-5310, 2013 WL 5507297, at *5 (E.D. La. Sept. 30,

2013). Petitioners plainly have carried their burden on that question.




3  Notably, neither Carson nor any of the Parish’s other consultants have submitted any affidavits challenging Dr.
Chrostowski.
4  Defendants’ contentions that the requested discovery should be denied because of their lis pendens objections is
separately addressed in petitioners’ papers filed in opposition to those objections, and will not be repeated here.

                                                        3


                                                      0700
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 384 of 443




         There would be no “prejudice” to defendants if the motion is granted because petitioners

plainly would be entitled to the requested discovery at some later date. Defendants cannot show

how they would be prejudiced if petitioners were allowed to conduct the requested discovery now

rather than later.5 In any event, defendants’ assertions that the requested discovery would impose

“vast” burdens on them (Waste Connections Mem. at 8), and that petitioners seek to conduct

“prolonged monitoring” on the Landfill site (Parish Opp. at 3) are simply untrue. Petitioners

envision requiring on-site access for several days, not weeks or months. In contrast, as Waste

Connections emphasizes for other reasons, the LDEQ has been inspecting the site nearly every day

for many months; and consultants for both the Parish and Waste Connections have conducted their

own site investigations. Defendants do not and cannot explain why a limited site inspection of

limited duration by petitioners’ consultants would cause “vast” and unacceptable burdens given

the substantial attention that has already been visited upon the Landfill by other stakeholders.

         Petitioners have not proposed to conduct “generic and broad” discovery on the Landfill

(Parish Opp. at 3), but instead have sought to narrowly focus the scope of their activities to

minimize interference with Landfill operations.6 Defendants cannot complain simultaneously that

petitioners’ proposed investigation is too broad and disruptive, while also asserting that the

proposed investigation is too narrow to produce meaningful data. See, e.g., Rappolt Aff. ¶ 49.

Moreover, petitioners’ team of consultants are all highly experienced in the field of environmental

investigation, including at municipal landfills.7

         In contrast to the minimal or non-existent burdens that would be imposed on the

defendants, the petitioners have demonstrated a reasonable likelihood that they would be

prejudiced if they are denied the requested expedited discovery. As noted, the defendants’ ongoing

remediation efforts cannot legitimately be described as “routine.” Presumably those efforts are

designed to achieve rather dramatic improvements. They certainly involve measures that have the


5 It is difficult to understand Waste Connections’ assertion that defendants would be prejudiced by the requested

expedited discovery because petitioners have not sought preliminary injunctive relief. That certainly is not a
prerequisite to expedited discovery. In any event, the point of the motion for expedited discovery is to help assure
that petitioners can collect data concerning the Landfill before it is remediated.
6 For example, defendants criticize Dr. Chrostowski for focusing at this state on Phase IVa of the Landfill site, but

petitioners have proposed this limitation precisely to limit the scope of their initial investigation to the extent possible.
Petitioners would be pleased to expand their initial data collection to other areas of the Landfill.
7 Petitioners have assembled a team of highly experienced experts, including Dr. Chrostowski, who in the aggregate

provide world-class expertise in the fields of environmental risk assessment; air modeling; landfill sampling and
analysis; and landfill design and operation. Apart from Dr. Chrostowski, these consultants include the firms of RTP
Environmental Associates, Inc.; Integral Consultants, Inc. and Ramboll USA Corp.

                                                             4


                                                           0701
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 385 of 443




potential to substantially change the characterization of the Landfill gases – and hence the

characterization of the chemicals to which petitioners have been subjected over the past year and

longer. See Chrostowski Reply Aff. , ¶¶ 17-19.. It is therefore very important for petitioners to

be able to obtain the requested discovery now rather than later.8

        Fundamentally, the defendants’ opposition amounts to an assertion that because all the

other stakeholders in this matter have conducted their own (insufficient) inquiries, the plaintiffs –

who are the most directly and severely impacted stakeholders – should simply accept the

assurances of Waste Connnections and have no need to conduct their own investigation.

    B. Currently Available Public Data are Not a Substitute for Comprehensive Source
       Emissions Data Concerning Landfill Gas That is the Starting Point for a Legitimate
       Scientific Analysis of the Full Public Health Risks Posed by the Landfill
        Waste Connections says that the public record contains a “trove” of data that Dr.

Chrostowski has ignored and which makes plaintiffs’ requested discovery unnecessary. In fact,

Dr. Chrostowski is well aware of the information cited by Waste Connections. But for the reasons

he explains at length in his Reply Affidavit, that information does not come close to providing the

comprehensive “source emissions” data that he has described as being necessary for a scientific

assessment of the Landfill’s risks.

        1. The LDEQ Site Inspections Are Not Source Characterizations

        Waste Connections refers to information concerning hydrogen sulfide and odor that LDEQ

personnel have recorded during their on-site visits to the Landfill. Waste Connections cannot

credibly contend that these reports constitute a comprehensive emissions source characterization.

As Dr. Chrostowski states,, landfill gases typically are comprised of hundreds if not thousands of

chemical compounds. Measuring hydrogen sulfide concentrations alone does not provide a

comprehensive characterization of the Landfill gases that would allow a risk assessment.

(Chrostowski Initial Aff. ¶¶ 5 and 15; Reply Aff. ¶2d and 3.).

        As for “odor,” it is simply false for Waste Connections to assert that the LDEQ has

collected odor “data” during its site visits. The site inspection reports cited by Waste Connections



8 SemitTool, Inc. v. Tokyo Electron America, Inc., 208 F.R.D. 273 (N.D.Cal. 2002), cited by defendants, in fact

supports petitioners. There, the Court granted a motion for expedited discovery against the defendants – even where
no allegation that evidence would be lost was made and denied expedited discovery against a non-party.

                                                        5


                                                      0702
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 386 of 443




contains the purely subjective impressions of LDEQ staff as to whether they could detect an odor

on a particular occasion and, if so, whether or not the odor seemed to be “strong,” “weak,” and the

like. This subjective information may be interesting, but it is not “data.” There are scientific

methods for measuring, quantifying and reporting “odor strength,” and the data derived from those

methods can be used to model the resulting odor strength that will be experienced throughout the

surround area as the gases are released from the Landfill and travel through the air. Chrostowski

Aff. ¶¶ 17-18 and Reply Aff. ¶ 11. Dr. Chrostowski’s proposed sampling plan includes the

collection and analysis of objective odor strength data in a scientifically sound manner – as

opposed to simply sniffing around the site and recording subjective, non-replicable impressions.

       In short, the limited hydrogen sulfide measurements and odor descriptions collected by the

LDEQ are not remotely comparable to the comprehensive sampling effort that Dr. Chrostowski

has outlined.

       2. New Source Performance Standards Are Irrelevant

       Waste Connections also relies on the fact that the Landfill is subject to federal New Source

Performance Standards (“NSPS”) that are implemented through a “Title V” permit. Again, Dr.

Chrostowski is fully aware of these requirements, but they simply do not provide the

comprehensive source characterization he describes and that would be needed to support an

assessment of the risks posed by the Landfill to petitioners.

       As Waste Connections itself acknowledges, NSPS only address “fugitive releases” of

landfill gas. Mem. at 9. Fugitive emissions are those that escape from various points across the

Landfill surface. But there are other significant sources of emissions from the Landfill that are

not regulated by NSPA. First, there are the gases that are released directly from the Landfill pipes

and other gas collection components because of leaks. At the Jefferson Parish Landfill, these leaks

are likely a significant component of total gas emissions given the gas collections’ state of

disrepair. Chrostowski Reply Aff. ¶ 16. In addition, the Landfill operates a primitive flare to burn

off some of the gases. This flare is not regulated by NSPS and is a potential source of harmful

toxic pollutants including dioxins. Id.




                                                 6


                                               0703
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 387 of 443




       In addition, NSPS requirements only limit the total annual amount of emissions emitted

from the Landfill. Id.   Total annual emissions provide no information about actual exposures

experienced at any particular location at any given point in time or over any particular interval of

time. It therefore provides no useful information for assessing actual risks posed to the community.

Chrostowski Reply Aff. ¶ 15.

       Finally, the quarterly air emissions monitoring collected at the Landfill under its Title V

permit is conducted only for one chemical compound – methane. But measuring methane alone –

especially measuring only fugitive emissions of methane -- hardly comprises the comprehensive

source characterization that Dr. Chrostowski explains is needed. Id.

       3. Dr. Chrostowski Does Not Start From the Premise that the Landfill is the Only
          Potential Source of Public Health Risk; To the Contrary, the Effort to Obtain
          Comprehensive Landfill Gas Data is Designed to Help Differentiate the Full
          Extent of the Risks Posed by the Landfill
       According to Waste Connections, petitioners’ motion is based on a “distraction” – namely,

an “incorrect and inflammatory suggestions that air emissions from Jefferson Parish Landfill are a

threat to public health.” Mem. at 10. Waste Connections claims that Dr. Chrostowski has simply

ignored the fact that there are other sources of air pollution in the area, and oddly chides him for

describing the Landfill as a “suspected” source. E.g., Rappolt Aff. ¶ 28; Walsh Aff. ¶ 37. [cite].

       To recap the facts: Before petitioners filed this action, the Parish held a press conference

at which it acknowledged that unacceptable levels of odors were being experienced in the

community due to the negligent state of the landfill. At the same press conference, an official of

the Louisiana Department of Health (“LDOH”) advised community residents to leave the area

when they experienced the odors. Subsequently, the LDEQ Commissioner advised the Parish

that there was “no doubt” in his mind that the Landfill is the main cause of these problems.

https://www.nola.com/environment/2018/12/jefferson-parish-landfill-idd-as-source-of-river-

ridge-harahan-stench-state-says.html (last visited 1/22/19).

       Waste Connections plainly disagrees with these statements – and has mounted an effort to

have the LDEQ to retract its focus on the Landfill as the source of the problems.

https://www.waste360.com/nuisances/waste-connections-disputes-inaccuracies-jefferson-parish-

landfill-suitCommissioner (last visited 1/21/19). But given the statements of Parish and state


                                                 7


                                               0704
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 388 of 443




officials, to characterize petitioners’ allegations as “incorrect” and “inflammatory” is itself an

inaccurate distraction.

       Moreover, LDEQ’s limited air sampling in the community shows the presence of some

toxic and carcinogenic compounds, typically found in landfill gas, to be present in the community

at concentrations that exceed EPA screening levels. This provides further corroboration of the

need for more robust sampling and analyses of Landfill gas at its source. Chrostwoski Initial Aff.,

¶¶ 11-12. Waste Connections falsely asserts that EPA has “made clear” that these screening levels

are only applicable to Superfund cleanups and are not to be applied for purposes of assessing risk

in non-Superfund situations. Mem. at 16. Waste Connections provides no evidence for that

assertion, because it is untrue. EPA’s Superfund screening levels are in fact used by many

regulatory agencies, including EPA, to screen for risk in numerous non-Superfund contexts.

Chrostwoski Reply Aff. ¶ 5. EPA’s written Guidance actually states: “Users within and outside

the [Superfund] program should use the tables or calculator results at their own discretion and they

should take care to understand the assumptions incorporated in these results and to apply the SLs

appropriately.” https://www.epa.gov/risk/regional-screening-levels-rsls-users-guide#intro (last

visited 1/17/19).

        Waste Connections apparently seeks to put petitioners in an impossible box. It argues that

other sources besides the Landfill’s gases may be the source of whatever chemical compounds the

residents are being exposed to. In the next breadth, Waste Connections seeks to prevent petitioners

from collecting the very source emissions data concerning the Landfill gas that would help

correlate the Landfill emissions with community exposure.

       In this regard, it is perverse for Waste Connections to criticize petitioners for not

conducting comprehensive ambient air sampling in the affected neighborhoods to determine the

full suite of chemicals to which they are being exposed. (Mem. at 14). It is unfortunate that neither

the government regulatory authorities charged with protecting human health and the environment

nor any of the defendants have conducted those investigations given the persistent community

complaints. But the absence of real-time empirical data on community exposure levels does not

negate the need for comprehensive source emissions data concerning the identity and

concentrations of pollutants that are emitted from the Landfill. A serious scientific investigation

                                                 8


                                                0705
      Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 389 of 443




into the full array of public health risks posed by this Landfill must include comprehensive data

concerning the contents of the Landfill gas. Chrostowski Reply Aff. ¶¶ 2-3, 22; Initial Aff. ¶¶ 5-

11.

        Petitioners are ready, willing and able to collect this important information, at their own

cost. Defendants cannot offer any good reason to prevent petitioners from doing so.

        4. The SCS Report Confirms the Need for More Robust Source Emissions
           Characterization
        Contrary to Waste Connections’ contention, Dr. Chrostowski is fully conversant with the

report prepared by its consultant, SCS, and that report does not refute the need for petitioners’

expedited discovery. Chrostowski Initial Aff. ¶ 17; Reply Aff. ¶¶ 12-13. Among other things, the

field measurements of hydrogen sulfide gas collected by SCS are highly unreliable given the

instruments and analytical methods it used to sample and analyze for that compound. Id.Indeed,

SCS has not explained why its on-site measurements of hydrogen sulfide are so much lower than

those obtained by the Parish’s consultant, CEC. Id.. The disparity in the readings obtained by

those two consultants is yet another reason why the petitioners need to conduct their own on-site

sampling.    More important, as discussed previously, sampling and analyzing just for one

compound (hydrogen sulfide) is not a substitute for source characterization given the numerous

toxic compounds that landfill gas contains. Indeed, for decades, SCS (including specifically Mr.

Walsh, who co-authored the SCS report and has submitted an Affidavit in this case) has advocated

and engaged in the practice of analyzing for a range of toxic chemicals to assess the risks of landfill

gas. Chrostowski Reply Aff. ¶ 13.

        5. Petitioners Have Not Mischaracterized On-Site Testing Data

        Waste Connections asserts that Dr. Chrostowski has seriously misinterpreted on-site data

collected by Carson, and that petitioners therefore make a “baseless, provocative insinuation that

a health risk exists to the Landfill workers and the public.” Mem. at 12. Again, petitioners

respectfully refer the Court to the report of the Parish’s own consultant, Carson. After conducting

an analysis of the Landfill operations and site conditions, Carson was concerned enough about the

on-site health risks posed by hydrogen sulfide concentrations to recommend immediate safety

training and equipment for on-site workers.           See page 3,supra.      And again, the LDEQ


                                                  9


                                                 0706
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 390 of 443




Commissioner has opined that the Landfill is the source of odors that petitioners and others have

complained about. Petitioners’ allegations may be provocative to Waste Connections, but they are

hardly baseless.

         In fact, Dr. Chrostowski has not exaggerated the conditions revealed by the Carson report.

As Dr. Chrostowski explains, on-site ambient air concentrations of hydrogen sulfide measured by

CEC are profoundly high. Moreover, the dangerously high concentration of hydrogen sulfide gas

measured in the Landfill piping itself is of relevance precisely because those pipes have been found

to be in such a state of disrepair and leaks – i.e., “releases” – of gases from those pipes have been

documented. Chrostowski Reply Aff. ¶¶ 6-8.

    C. Waste Connections’ Criticism of Modeling That Petitioners Have Not Yet
       Undertaken Does not Provide a Basis to Deny the Requested Discovery
         Petitioners’ experts have not conducted any modeling and have not even decided on the

model they will use after they have collected the required on-site Landfill gas data. Yet Waste

Connections’ experts purport to know that any air dispersion modeling that petitioners may choose

to conduct “will not provide accurate or reliable scientific data.”

         First, the notion that air dispersion modeling necessarily yields inaccurate or unreliable

results is belied by the fact that Waste Connections relies on air dispersion modeling conducted by

its own expert, SCS, as a primary basis to oppose petitioners’ motion. Chrostwoski Reply Aff. ¶

23. Indeed, the model used by SCS was a “screening” model that is even less refined than the

“AERMOD” model that Mr. Rappolt discusses and criticizes at length in his Affidavit. Id.

         Further, while Waste Connections’ experts criticize at length the reliability and accuracy

of the “AERMOD” model,9 the fact is that there are other more refined and widely used models.

Id. Petitioners’ team of modeling experts have not yet decided on whether to use AERMOD or a

more sophisticated model or exactly how the modeling will be conducted. Waste Connections’

misguided, uninformed and predetermined criticisms about modeling that petitioners have not yet

even conducted cannot legitimately provide a basis for denying their request for expedited

discovery.

    D. Waste Connections’ Nitpicking Over Details of Dr. Chrostowski’s Preliminary
       Sampling Plan Does Not Provide a Basis to Deny Petitioners Motion
9 See Rappolt Aff., ¶¶ 41-44.


                                                 10


                                                0707
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 391 of 443




       Waste Connections criticizes Dr. Chrostowski’s preliminary proposed sampling plan for

lack of various details such as a failure to “set forth any methods or details explaining how filed

measurements will be recorded.” Mem. at 17. It is hard to fathom why the absence of these types

of details at this stage provides a reason to deny petitioners’ motion. See generally, Chrostowski

Reply Aff. ¶¶ 25-18. Petitioners have engaged highly reputable and experienced environmental

consulting firms for this effort. Indeed, the firm that will conduct the on-site sampling for

petitioners, RTP Environmental Associates, Inc., has worked with Waste Connections’ lawyers on

other projects. Likewise, the firm that has been engaged to spearhead the air dispersion modeling

efforts for petitioners, Integral Consulting, Inc., has been engaged as an expert consultant on other

matters by the defendant Aptim Corp, which operates the Landfill’s gas collection system.

       Waste Connections’ complaint that petitioners have not yet articulated how they “will

convert on-site concentration measurements of chemicals into representative and applicable

emissions rates” is likewise irrelevant to this motion. Again, petitioners have engaged the services

of a highly reputable firm to conduct the air dispersion modeling – Integral Consultants, Inc.

Indeed, the defendant Aptim Corp. (which operates the Landfill gas collection system) has engaged

Integral as a consultant in the past, and the individual who will lead the modeling effort has been

engaged as an expert in other matters by Waste Connections’ counsel. Defendants may choose to

criticize petitioners’ methods and results after they have been completed, but Waste Connections’

pre-determined assertion that petitioners’ efforts will be unreliable or inaccurate cannot be credited

and provides no basis to deny petitioners the requested discovery.

   E. The Parish’s Procedural Arguments Should be Rejected

    The Parish has raised certain procedural objections to petitioners’ motion, which are briefly

discussed in order:

       1. Petitioners Have Adhered to Applicable Discovery Rules

       The Parish’s contention that petitioners have not complied with La. C.C.P. art. 1461

ignores the fact that this is a motion for expedited discovery. It also ignores the fact that prior to

filing the motion, counsel for Waste Connections informed undersigned counsel that Waste



                                                 11


                                                0708
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 392 of 443




Connections would oppose any request for expedited entry on to the Landfill site for purposes of

inspection and sampling. Moreover, as the Parish’s filings make clear, it also opposes the request.

         The Parish’s invocation of Rule 10.1 of the Rules for Civil Proceedings in District Court

is also misplaced. First, that rule explicitly applies to a “motion to compel discovery.” That term

plainly refers to an effort to compel a party to provide responses or more adequate responses to

previously served discovery requests, with the prospect of sanctions. Petitioners here do not seek

to compel responses to previously served discovery requests.

         Further, as petitioners filed their motion before any counsel entered an appearance in the

case, any requirement to “meet and confer” would be inapplicable. In this regard, the Court should

note that on the same date the petition was filed, as a courtesy undersigned counsel went out of

their way to research who the counsel of record were for defendants in the previously filed class

action cases, and sent a courtesy copy of the petition by email to each of those law firms – on the

assumption that those firms would also be representing defendants in this case. Undersigned

counsel also asked each of those counsel whether, assuming they would be representing defendants

in this case, they would agree to waive service on behalf of their respective clients. Only Waste

Connections’ counsel contacted petitioners’ counsel in response to that inquiry. In subsequent

conversations, he indicated that Waste Connections’ would oppose the filing of any motion for

expedited discovery. In contrast, counsel for the Parish did not respond or communicate at all with

undersigned counsel. Given this radio silence from the Parish’s counsel, petitioners’ counsel was

under no obligation to assume they would be representing the Parish in this case or to meet and

confer with them. In any event, it is plain that such a meet and confer session would have been

fruitless given the Parish’s active opposition to petitioners’ motion.

         The Parish’s argument that not all of the affected parties have been notified of petitioners’

request, and that granting petitioners’ motion would somehow work a hardship on the other

defendants, is also erroneous. The only other named defendants in this case are Aptim Corp. and

several corporate subsidiaries of Waste Connections.10 Aptim Corp. is the entity that operates the

Landfill’s gas collection systems under contract with the Parish and therefore is subject to the



10 All those Waste Connections subsidiaries are represented in the other cases by the law firms that represent Waste

Connections in this case. Those law firms presumably will represent the subsidiaries once they are served in this case.

                                                         12


                                                        0709
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 393 of 443




Parish’s direction and control. As Waste Connections has managed to file extensive opposition

papers to petitioners’ motion, its subsidiaries plainly are not adversely affected.

       2. Petitioners Have Identified the Proposed Discovery With Sufficient Specificity
       It is difficult to understand the Parish’s claim that petitioners have not identified “what

information they are seeking.” Dr. Chrostowski has provided a preliminary plan that identifies

what petitioners want to sample and where. The plan is by definition subject to some modification

because unlike defendants, petitioners have never actually been on the site. The logistics of the site

visit and related issues of course will be a matter of discussion and planning with the defendants.

None of this is reason to deny petitioners’ request.

       Furthermore, as noted above, the assertion that granting petitioners access to the site for a

few days would impose huge burdens on the Parish and other defendants must be evaluated against

the fact that, as the defendants emphasize, the LDEQ has been inspecting and sampling at the site

nearly every day, and the Parish’s own consultants have spent many days on-site conducting their

own investigations and sampling. The petitioners are at least equal stakeholders in this matter.

The notion that allowing their consultants on-site for a few days would be too burdensome to bear

is repugnant.

                                          CONCLUSION

       For all the foregoing reasons and those set forth in petitioners’ initial motion papers, their

motion for expedited access to the Landfill should be granted.




                                                       Respectfully submitted,


                                                       FORREST CRESSEY & JAMES, LLC

                                                       /s/ S. Eliza James
                                                       _______________________________
                                                       Byron M. Forrest (La. Bar No. 35480)
                                                       Nicholas V. Cressy (La. Bar No. 35725)
                                                       S. Eliza James (La. Bar No. 35182)
                                                       One Canal Place
                                                       365 Canal Street, Suite 1475
                                                       New Orleans, Louisiana 70130
                                                       Tele:(504) 605.0777
                                                       Fax: (504) 322.3884

                                                 13


                                                0710
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 394 of 443




                                                     Email: eliza@fcjlaw.com

                                                     Barry S. Neuman (Admitted Pro Hac Vice)
                                                     WHITEFORD TAYLOR PRESTON,
                                                     LLP
                                                     1800 M Street, NW
                                                     Suite 450N
                                                     Washington, DC 20036
                                                     Tele: (202) 659.6800

                                                     OF COUNSEL:
                                                     C. Allen Foster
                                                     Erik Bolog
                                                     Adrian Snead
                                                     WHITEFORD TAYLOR                PRESTON,
                                                     LLP
                                                     1800 M Street, NW
                                                     Suite 450N
                                                     Washington, DC 20036
                                                     Tele: (202) 659.6800

                                   CERTIFICATE OF SERVICE

       I, S. Eliza James, hereby certify that the foregoing pleading was served on the following
counsel of record and unrepresented parties via e-mail and/or by U.S. mail properly addressed and
postage pre-paid on this 22 day of January, 2019. Per local rule, a copy of this pleading was also
faxed to chambers.
                                                            /s/ S. Eliza James
                                                      _______________________________



JEFFERSON PARISH
Through its attorneys of record:
William P. Connick
Michael S. Futrell
Matthew D. Moghis
Connick and Connick, LLC
3421 N. Causeway Blvd.
Suite 408
Metairie, Louisiana 70002

WASTE CONNECTIONS, U.S.
Through its attorneys of record:
David R. Taggart
Michael C. Mimms
Bradley Murchison
Kelly & Shae, LLC
1100 Poydras Street
Suite 2700
New Orleans, Louisiana 70163

James B. Slaughter
Beveridge & Diamond, P.C.
1350 I Street, N.W.
Suite 700
Washington, DC 20005


                                               14


                                              0711
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 395 of 443




William Barousse
701 Poydras Street
Suite 4800
New Orleans, LA 70139

APTIM CORP.
Through its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

LOUISIANA REGIONAL LANDFILL COMPANY
Through its Agent for Service
Corporation Service Company
501 Louisiana Avenue
Baton Rouge, LA 70802
WASTE CONNECTIONS BAYOU, INC.
Through its Agent for Service
Corporation Service Company
501 Louisiana Ave.
Baton Rouge, LA 70802




                                    15


                                   0712
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 396 of 443




                                0713
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 397 of 443




                                0714
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 398 of 443




                                0715
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 399 of 443




                                0716
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 400 of 443




                                0717
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 401 of 443




                                0718
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 402 of 443




                                0719
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 403 of 443




                                0720
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 404 of 443




                                0721
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 405 of 443




                                0722
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 406 of 443




                                0723
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 407 of 443




                                0724
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 408 of 443




                                0725
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 409 of 443




                                0726
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 410 of 443




                                0727
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 411 of 443




                                0728
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 412 of 443




                                0729
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 413 of 443




                                0730
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 414 of 443




                                0731
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 415 of 443




                                0732
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 416 of 443




                                0733
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 417 of 443




                                0734
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 418 of 443




                                0735
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 419 of 443




                                0736
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 420 of 443




                                0737
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 421 of 443




                                0738
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 422 of 443




                                0739
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 423 of 443




                                0740
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 424 of 443




                                0741
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 425 of 443




                                0742
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 426 of 443




                                0743
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 427 of 443




                                0744
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 428 of 443




                                0745
Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 429 of 443




                                0746
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 430 of 443




         24th JUDICIAL DISTRICT COUR FOR THE PARISH OF JEFFERSON
                                    STATE OF LOUISIANA
      SUIT NO.: 790-369                                                    DIVISION: “J”
                                FREDERICK ADDISON, et al.,
                                            VERSUS
                  LOUISIANA REGIONAL LANDFILL COMPANY, et al.


FILED: ___________________                                   ___________________________
                                                                DEPUTY CLERK



              NOTICE OF INTENT TO APPLY FOR SUPERVISORY WRIT

       NOW INTO COURT, comes Plaintiffs, who pursuant to Rule 4-2 of the Uniform Rules of

the Louisiana Courts of Appeal, does hereby provide notice of their intent to apply to the Court of

Appeal for the Fifth Circuit for a supervisory writ relating to this Court’s January 24, 2019 ruling

on Defendant Waste Connection, US Inc.’s exception of Lis Pendens. Plaintiffs request a

reasonable return date within the delays allowed by law.

                                                      Respectfully submitted,


                                                      FORREST CRESSEY & JAMES, LLC

                                                      /s/ S. Eliza James
                                                      _______________________________
                                                      Byron M. Forrest (La. Bar No. 35480)
                                                      Nicholas V. Cressy (La. Bar No. 35725)
                                                      S. Eliza James (La. Bar No. 35182)
                                                      One Canal Place
                                                      365 Canal Street, Suite 1475
                                                      New Orleans, Louisiana 70130
                                                      Tele:(504) 605.0777
                                                      Fax: (504) 322.3884
                                                      Email: eliza@fcjlaw.com

                                                      Barry S. Neuman (Admitted Pro Hac Vice)
                                                      WHITEFORD TAYLOR PRESTON,
                                                      LLP
                                                      1800 M Street, NW
                                                      Suite 450N
                                                      Washington, DC 20036
                                                      Tele: (202) 659.6800

                                                      OF COUNSEL:
                                                      C. Allen Foster
                                                      Erik Bolog




                                               0747
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 431 of 443




                                                    Adrian Snead
                                                    WHITEFORD TAYLOR              PRESTON,
                                                    LLP
                                                    1800 M Street, NW
                                                    Suite 450N
                                                    Washington, DC 20036
                                                    Tele: (202) 659.6800




                                   CERTIFICATE OF SERVICE

        I, S. Eliza James, hereby certify that the foregoing Notice was served on the following
parties via fax on this 19 day of February, 2019.
                                                            /s/ S. Eliza James
                                                     _______________________________


JEFFERSON PARISH
Through its attorneys of record:
William P. Connick
Michael S. Futrell
Matthew D. Moghis
Connick and Connick, LLC
3421 N. Causeway Blvd.
Suite 408
Metairie, Louisiana 70002
Fax: 504- 838-9901

WASTE CONNECTIONS, U.S.
Through its attorneys of record:
David R. Taggart
Michael C. Mimms
Bradley Murchison
Kelly & Shae, LLC
1100 Poydras Street
Suite 2700
New Orleans, Louisiana 70163
Fax: 504- 596-6301

James B. Slaughter
Beveridge & Diamond, P.C.
1350 I Street, N.W.
Suite 700
Washington, DC 20005
Fax: 202-789-6000

William Barousse
701 Poydras Street
Suite 4800
New Orleans, LA 70139
Fax: 504-561-1011

APTIM CORP.




                                             0748
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 432 of 443




Through its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

LOUISIANA REGIONAL LANDFILL COMPANY
Through its Agent for Service
Corporation Service Company
501 Louisiana Avenue
Baton Rouge, LA 70802

WASTE CONNECTIONS BAYOU, INC.
Through its Agent for Service
Corporation Service Company
501 Louisiana Ave.
Baton Rouge, LA 70802




                                   0749
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 433 of 443




         24th JUDICIAL DISTRICT COUR FOR THE PARISH OF JEFFERSON
                                  STATE OF LOUISIANA
      SUIT NO.: 790-369                                                 DIVISION: “J”
                              FREDERICK ADDISON, et al.,
                                          VERSUS
                 LOUISIANA REGIONAL LANDFILL COMPANY, et al.


FILED: ___________________                                ___________________________
                                                             DEPUTY CLERK



              NOTICE OF INTENT TO APPLY FOR SUPERVISORY WRIT

       Considering the foregoing Notice of Intent to Apply for Supervisory Writ:

       IT IS HEREBY ORDERED that Plaintiffs Frederick Addison, et. al., be and hereby is

granted the return date of ____________________, 2019 within which to file a supervisory writ

relating to this Court’s January 24, 2019 order ruling on Defendant Waste Connection, US’s

exception of lis pendens.

       Gretna, Louisiana this ___________ day of ______________________, 2019.




                                                    _____________________________
                                                    JUDGE- DIVISION “J”


PLEASE SERVE ALL PARTIES OF RECORD
WITH A SIGNED COPY OF THIS ORDER
VIA U.S. MAIL.




                                             0750
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 434 of 443




          24th JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                    STATE OF LOUISIANA

SUIT NO.: 790-369                                                    DIVISION: “J”

                                FREDERICK ADDISON, et. al.,

                                             VERSUS

                   LOUISIANA REGIONAL LANDFILL COMPANY et. al.


FILED: _________________________                       ______________________________
                                                             DEPUTY CLERK

 EX PARTE MOTION FOR ADMISSION OF ADRIAN SNEAD, ESQ AS CO-COUNSEL
                           PRO HAC VICE


          PETITIONERS, through undersigned counsel, respectfully moves this Honorable Court

for an order admitting Adrian Snead, Esq. a member in good standing of the State of New York

and District of Columbia Bar Associations, to serve as co-counsel of record in the above-captioned

matter.

          In accordance with Rule XVII, Section 13A3(i), mover attaches Mr. Sneads’ Pro Hac Vice

letter of approval from the Louisiana Attorney Disciplinary Board as exhibit “A”. Undersigned

counsel further verifies that a trial date has not been selected in this matter, and that counsel has

received no notice of any hearing scheduled within thirty days of the filing of this Motion.

          WHEREFORE, Petitioners pray that this Honorable Court enter an order enrolling Adrian

Snead as co-counsel pro hac vice in the above-captioned matter.

                                                       RESPECTFULLY SUBMITTED:

                                                       /s/ S. Eliza James
                                                       ________________________
                                                       Forrest Cressy & James, LLC
                                                       Byron M. Forrest (La. Bar No. 35480)
                                                       Nicholas V. Cressy (La. Bar No. 35725)
                                                       S. Eliza James (La. Bar No. 35182)
                                                       One Canal Place Office Tower
                                                       365 Canal Street, Suite 1475
                                                       New Orleans, Louisiana 70130
                                                       Telephone: 210-414-1723
                                                       Facsimile: 504-322-3884
                                                       eliza@fcjlaw.com

                                                       Barry S. Neuman (Admitted Pro Hac Vice)
                                                       WHITEFORD TAYLOR PRESTON,
                                                       LLP




                                                0751
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 435 of 443




                                                      1800 M Street, NW
                                                      Suite 450N
                                                      Washington, DC 20036
                                                      Tele: (202) 659.6800

                                                      OF COUNSEL:
                                                      C. Allen Foster
                                                      Erik Bolog
                                                      Adrian Snead
                                                      WHITEFORD TAYLOR               PRESTON,
                                                      LLP
                                                      1800 M Street, NW
                                                      Suite 450N
                                                      Washington, DC 20036
                                                      Tele: (202) 659.6800


                                                      Counsel for Petitioners

                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 19 day of February, 2019, a copy of the above and foregoing

Motion was served on the following parties by depositing a copy of same in the United States mail,

postage prepaid and properly addressed or by e-mail.


                                       /s/ S. Eliza James
                                    ________________________
                                           S. Eliza James


JEFFERSON PARISH
Through its attorneys of record:
William P. Connick
Michael S. Futrell
Matthew D. Moghis
Connick and Connick, LLC
3421 N. Causeway Blvd.
Suite 408
Metairie, Louisiana 70002
Fax: 504- 838-9901

WASTE CONNECTIONS, U.S.
Through its attorneys of record:
David R. Taggart
Michael C. Mimms
Bradley Murchison
Kelly & Shae, LLC
1100 Poydras Street
Suite 2700
New Orleans, Louisiana 70163
Fax: 504- 596-6301

James B. Slaughter
Beveridge & Diamond, P.C.
1350 I Street, N.W.
Suite 700
Washington, DC 20005
Fax: 202-789-6000

William Barousse
701 Poydras Street
                                                 2



                                               0752
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 436 of 443




Suite 4800
New Orleans, LA 70139
Fax: 504-561-1011

APTIM CORP.
Through its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

LOUISIANA REGIONAL LANDFILL COMPANY
Through its Agent for Service
Corporation Service Company
501 Louisiana Avenue
Baton Rouge, LA 70802

WASTE CONNECTIONS BAYOU, INC.
Through its Agent for Service
Corporation Service Company
501 Louisiana Ave.
Baton Rouge, LA 70802




                                     3



                                   0753
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 437 of 443




        24th JUDICIAL DISTRICT COURT FOR THE PARISH OF JEFFERSON

                                   STATE OF LOUISIANA

SUIT NO.: 790-369                                                  DIVISION: “J”

                               FREDERICK ADDISON, et. al.,

                                            VERSUS

                 LOUISIANA REGIONAL LANDFILL COMPANY, et. al.


FILED: _________________________                     ______________________________
                                                           DEPUTY CLERK

                                           ORDER

       Based on the foregoing Ex Parte Motion:

       IT IS HEREBY ORDERED that Adrian Snead, Esq., duly licensed practitioner in the

State of New York and District of Columbia, be admitted as pro hac vice co-counsel in this matter.

       Gretna, Louisiana, this ______ day of ________________, 2019.



                                                     ____________________________________
                                                                    J U D G E- DIV. “J”
PLEASE SERVE A COPY OF THIS SIGNED
ORDER ON ALL PARTIES OR COUNSEL OF RECORD
VIA U.S. MAIL.




                                                4



                                              0754
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 438 of 443




Exhibit A




                                    0755
    Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 439 of 443




          24th JUDICIAL DISTRICT COUR FOR THE PARISH OF JEFFERSON
                                     STATE OF LOUISIANA
        SUIT NO.: 790-369                                                  DIVISION: “J”
                                FREDERICK ADDISON, et al.,
                                            VERSUS
                  LOUISIANA REGIONAL LANDFILL COMPANY, et al.


FILED: ___________________                                   ___________________________
                                                                DEPUTY CLERK

 MOTION TO EXTEND THE RETURN DATE PURSUANT TO UNIFORM RULES OF
                        APPEAL RULE 4-3


        NOW INTO COURT, comes Plaintiffs, who pursuant to Rule 4-3 of the Uniform Rules of

the Louisiana Courts of Appeal, request that this Court extend the return date of March 7, 2019 for

two weeks, or until March 21, 2019 for the reasons more specifically stated below:

                                                 1.

        On February 19, 2019 Plaintiffs filed a Notice of Intent to Seek a Supervisory Writ of the

Court’s January 24, 2019 ruling granting Defendant Waste Connection, US, Inc’s exception of

lis pendes.

                                                 2.

        On February 20, 2019 this Court granted the Motion and set a return date of March 7,

2019.

                                                 3.

        However, appellate counsel is in the midst of trial in Wye Oak Technology, Inc. v. Republic

of Iraq and the Ministry of Defense of the Republic of Iraq before the Hon. Royce C. Lamberth,

United States District Court for the District of Columbia. For complicated scheduling reasons, the

case is to be completed before his Honor on March 6–8, 2019. His Honor is currently sitting by

designation in the Western District of Texas in San Antonio, Texas, and counsel must travel to

complete the trial in San Antonio.




                                               0756
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 440 of 443




Plaintiffs aver that due to this scheduling conflict, counsel is requesting a two week extension of

the return date, making the Application for Supervisory Writ returnable to the Louisiana Fifth

Circuit Court of Appeal by or before March 21, 2019.


                                                  4.


       Plaintiffs aver that they have requested no other continuances of this matter.


                                                  5.


Uniform Rule 4-3 states:



       Upon proper showing, the trial court or the appellate court may extend the time
       for filing the application upon the filing of a motion for extension of return date
       by the applicant, filed within the original or an extended return date period.

                                                  6.

       Plaintiffs aver that this Motion is timely pursuant to the Rule, as the original return date

has not expired.

       WHEREFORE, Plaintiffs pray that this Motion is good and sufficient and that the court

extend the return date for good cause, making the Application for Supervisory Writ returnable to

the Louisiana Fifth Circuit Court of Appeal on or before March 21, 2019.




                                                       Respectfully submitted,


                                                       FORREST CRESSEY & JAMES, LLC

                                                       /s/ S. Eliza James
                                                       ______________________________
                                                       Byron M. Forrest (La. Bar No. 35480)
                                                       Nicholas V. Cressy (La. Bar No. 35725)
                                                       S. Eliza James (La. Bar No. 35182)
                                                       One Canal Place
                                                       365 Canal Street, Suite 1475
                                                       New Orleans, Louisiana 70130
                                                       Tele:(504) 605.0777
                                                       Fax: (504) 322.3884




                                               0757
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 441 of 443




                                                   Email: eliza@fcjlaw.com


                                                   /s/ Adrian Snead
                                                   _______________________________
                                                   Barry S. Neuman (Admitted Pro Hac Vice)
                                                   Adrian Snead (Admitted Pro Hac Vice)
                                                   WHITEFORD TAYLOR PRESTON,
                                                   LLP
                                                   1800 M Street, NW
                                                   Suite 450N
                                                   Washington, DC 20036
                                                   Tele: (202) 659.6800

                                                   OF COUNSEL:
                                                   C. Allen Foster
                                                   Erik Bolog
                                                   WHITEFORD TAYLOR               PRESTON,
                                                   LLP
                                                   1800 M Street, NW
                                                   Suite 450N
                                                   Washington, DC 20036
                                                   Tele: (202) 659.6800




                                   CERTIFICATE OF SERVICE

        I S. Eliza James, hereby certify that the foregoing Notice was served on the following
parties via email on this 26 day of February, 2019.

                                                   /s/ S. Eliza James
                                                   _______________________________


JEFFERSON PARISH
Through its attorneys of record:
William P. Connick
Michael S. Futrell
Matthew D. Moghis
Connick and Connick, LLC
3421 N. Causeway Blvd.
Suite 408
Metairie, Louisiana 70002
Fax: 504- 838-9901

WASTE CONNECTIONS, U.S.
Through its attorneys of record:
David R. Taggart
Michael C. Mimms
Bradley Murchison
Kelly & Shae, LLC
1100 Poydras Street




                                            0758
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 442 of 443




Suite 2700
New Orleans, Louisiana 70163
Fax: 504- 596-6301

James B. Slaughter
Beveridge & Diamond, P.C.
1350 I Street, N.W.
Suite 700
Washington, DC 20005
Fax: 202-789-6000

William Barousse
701 Poydras Street
Suite 4800
New Orleans, LA 70139
Fax: 504-561-1011

APTIM CORP.
Through its Agent for Service
CT Corporation System
3867 Plaza Tower Dr.
Baton Rouge, LA 70816

LOUISIANA REGIONAL LANDFILL COMPANY
Through its Agent for Service
Corporation Service Company
501 Louisiana Avenue
Baton Rouge, LA 70802

WASTE CONNECTIONS BAYOU, INC.
Through its Agent for Service
Corporation Service Company
501 Louisiana Ave.
Baton Rouge, LA 70802




                                   0759
   Case 2:19-cv-11133-SM-MBN Document 1-6 Filed 06/10/19 Page 443 of 443




         24th JUDICIAL DISTRICT COUR FOR THE PARISH OF JEFFERSON
                                   STATE OF LOUISIANA
      SUIT NO.: 790-369                                                   DIVISION: “J”
                               FREDERICK ADDISON, et al.,
                                           VERSUS
                 LOUISIANA REGIONAL LANDFILL COMPANY, et al.


FILED: ___________________                                  ___________________________
                                                               DEPUTY CLERK
                                             Order

       Considering the foregoing Motion to Extend the Return Date Pursuant to Uniform Rules

of Appeal Rule 4-3:

       IT IS HEREBY ORDERED that Plaintiffs Frederick Addison, et. al., be and hereby is

granted a two week extension of the return date making the Application for Supervisory Writ

returnable to the Fifth District Court of Appeals on or before March 21, 2019.

       Gretna, Louisiana this ___________ day of ______________________, 2019.




                                                     _____________________________
                                                     JUDGE- DIVISION “J”

PLEASE SERVE ALL PARTIES OF RECORD
WITH A SIGNED COPY OF THIS ORDER
VIA U.S. MAIL.




                                              0760
